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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                 6/22/2021
                                                                       :
EASTERN PROFIT CORPORATION LIMITED,                                    :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     18-cv-2185 (LJL)
                  -v-                                                  :
                                                                       :   FINDINGS OF FACT AND
STRATEGIC VISION US LLC,                                               :   CONCLUSIONS OF LAW
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Plaintiff Eastern Profit Corporation Limited (“Plaintiff” or “Eastern”) brings this action

against Defendant Strategic Vision US LLC (“Defendant” or “Strategic”) for breach of contract,

a declaratory judgment, and unjust enrichment.1 Strategic asserts counterclaims for breach of

contract and fraudulent inducement.

        An in-person bench trial commenced on April 19, 2021 and concluded on April 23, 2021.

Closing statements were made remotely on April 30, 2021. This opinion constitutes the Court’s

Findings of Fact and Conclusions of Law pursuant to Fed. R. Civ. P. 52.

        For the reasons that follow, the Court finds for Eastern on its claim seeking a declaratory

judgment that the research agreement at issue is void and unenforceable as a matter of Virginia

law and public policy.




1
  Eastern also previously brought a claim for fraudulent misrepresentation, but the parties
stipulated to dismissal with prejudice of that claim. See Dkt. No. 299 ¶ 6.
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I.     FINDINGS OF FACT

       A.      Relevant Persons

       Eastern is a private limited company registered under the laws of the Hong Kong Special

Administrative Region of the People’s Republic of China.

       Eastern is, in essence, a shell corporation for an individual named Guo Wengui, also

known as Mile Kwok (“Guo”). Eastern is not registered to do business in the United States. It

has no office in the United States and no operations in the United States. It also has no

operations in Hong Kong where it is registered. Its only asset is a bank account in Hong Kong

that was frozen by the Hong Kong High Court in 2007 and that now has $80,000 in it. Prior to

2017, the owner and sole director of Eastern was an individual named Han Changhui (“Han”).

In 2017, Han transferred ownership and control to Guo’s daughter, Guo Mei, who was a friend

of Han’s and who is now the owner and sole director of Eastern.

        Guo is a former resident of China who now resides in the United States. He has

achieved some notoriety in this country and internationally as he has made claims that are critical

of the policies and practices of the Chinese Communist Party (“CCP”) while at the same time

making statements supportive of individuals within the Chinese government. He has applied for

asylum in the United States. Guo maintains a family office under the name Golden Spring New

York Ltd. (“Golden Spring”).

       Yvette Wang (“Wang”) is an associate of Guo and is the president and director of his

company Golden Spring.

       Defendant Strategic is a limited liability company registered and in good standing with

the Nevada Secretary of State. Strategic’s principal place of business is in Arlington, Virginia.

       Among other services, Strategic provides private “investigatory research” to clients

within the United States in exchange for monetary compensation.


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       French Wallop (“Wallop”) was and is Strategic’s sole manager and only member.

Wallop was married to Malcolm Wallop, the U.S. Senator representing Wyoming from 1977 to

1994, who is now deceased. Wallop resides in Arlington, Virginia.

       J. Michael Waller (“Waller”) is a long-time friend and professional acquaintance of

Wallop and is an active member of the community of persons in the United States opposed to the

CCP. He holds a Ph.D. in international security affairs from Boston University and has an

extensive academic background. In addition to his work with Strategic, he is also currently

employed as a senior analyst for strategy at the Center for Security Policy, a think tank based in

Washington D.C. Waller has worked with Strategic on a number of projects since 2016 or 2017.

       Strategic has never had employees. Nor has Eastern.

       B.      The Origins of the Agreement

       The case concerns a research agreement (the “Agreement”) dated December 29, 2017 and

signed by Strategic and Eastern on January 6, 2018. Wallop signed on behalf of Strategic.

Wang signed the name Han on behalf of Eastern.

       The Agreement stated that it was “for the purpose of [Strategic] providing business

research, reporting, documentation, and other consulting services.” The Agreement also

reflected Strategic’s promise to “conduct high quality original research and prepare reports on

subjects chosen at [Eastern’s] discretion, for the purpose of detecting, stopping, and preventing

crime or other harm to innocent people.” PX1.

       The Agreement had its origins in meetings among Wallop, Waller, and Guo and persons

associated with Guo in late 2017.

       Guo was introduced to Wallop and Waller in late October or early November of 2017, by

an individual named Linchao Han (“L. Han”). A former reporter for the Washington Free




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Beacon and current reporter for the Washington Times named Bill Gertz (“Gertz”), who is a

mutual acquaintance of Guo, Wallop, and Waller, was also involved in the introduction.

       Both Gertz and L. Han are members of the community of persons in the United States

who are opposed to the CCP and self-identify as “China Hawks.” L. Han had immigrated to the

United States from China and worked in the United States Senate for several years (including for

the late Senator Wallop) on matters relating to China. Before he immigrated and after the

Tiananmen Square Massacre in 1989, L. Han helped found the Independent Federation of

Chinese Students and Scholars. Gertz has opposed the CCP through his writings and books. He

met Guo when he interviewed him in June or July 2017 and was asked by Guo to be a director of

the Rule of Law Foundation, an organization established by Guo in October 2018 to bring about

democratic reform in China.

        Wallop and Waller also have been involved in activities dedicated to the overthrow of

the CCP.

       In late 2017, Gertz approached Wallop and offered to introduce her to L. Han with

respect to a project Gertz thought might be of interest to Wallop. L. Han, who is a lawyer, was

helping Guo with his application to obtain asylum in the United States. Gertz believed that

Wallop could provide strategic communications support to Guo who was engaged in activities to

oppose the CCP.

       Wallop and Waller met with L. Han and Gertz in late October or early November 2017 at

Wallop’s home in Virginia. L. Han described Guo to Strategic as a wealthy businessman who

had moved to the United States to escape political persecution in China and who had recently

purchased the penthouse at the Sherry-Netherland Hotel in Manhattan. According to L. Han and

Gertz, Guo had developed several broad goals involving the Chinese government that would be




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beneficial to the people of China. In particular, Gertz described Guo as a dissident who had

broken with the CCP, who was engaged in a whistleblower campaign, and who wanted to devote

his resources to undermining the CCP and causing it to collapse. L. Han believed that Guo

needed to sustain an image as a “whistleblower” against the CCP. To be a “whistleblower,” L.

Han believed Guo needed to obtain and publish well-researched information against high-

ranking government officials.

       Thereafter, Wallop and Waller held several meetings with Guo in late 2017. Other

meetings were held with Wang and L. Han. The first meeting, held by Wallop with Guo, was at

Guo’s apartment in New York City. Subsequent meetings, which were held by Wallop and

Waller with L. Han and Wang, were held in Virginia or in Washington, D.C.

       Wallop and Waller first met with Guo at his New York apartment on November 21,

2017. L. Han was also in attendance. Guo stated that he was on a mission to dismantle the CCP

and described himself as an enemy of the CCP who wanted to use his wealth and influence and

contacts to bring out information to expose the contradictions within the CCP to bring it down.

       Wallop presented a document reflecting a “Vision” for Guo “to remain safely in [the

United States] and accomplish his mission back home,” i.e., in China. DX38. The document

was prepared at the request of L. Han, who Strategic understood to be Guo’s emissary but who in

fact acted simply as an intermediary between Strategic and Guo. See, e.g., Trial Tr. at 57. The

“Vision” document tracked Wallop’s then-understanding of the services Guo desired. It was

addressed both to his asylum application and to activities intended to help him undermine figures

in the CCP. It was also addressed to transforming Guo’s public image. The document reflected

the objective for Guo to “transform himself from an apolitical businessman to an international

statesman” and to “build a global moral standing, with a sound philosophical or principled base,




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to show a positive vision for his country’s future that will unite people who ordinarily would

never follow a wealthy businessman” as well as to “bring Mr. G into a new community of

leaders and follows to accomplish his objectives.” DX38.

       In the “Vision,” Strategic proposed to provide services to Guo to change his public image

and to build that community. Strategic stated it would “focus on building those communities [of

support] in this country, for the purpose of preventing any chance of [Guo] being forcibly

repatriated, and as a base from which to expand publicly.” Id. The services would include

helping to change his public image, expanding sources of respect, developing a social

engagement presence for Guo with policymakers, media figures, and decisionmakers in

Washington D.C., making Guo a thought-leader and policy leader, and building a foundation to

educate people from the United States and China on Guo’s ideas. Among the services promised

to Eastern was that Strategic would deploy a secretive and untraceable network of persons

supportive of and associated with then-President Donald J. Trump. Strategic proposed to

provide an “aggressive defense” against attacks that were expected to intensify and to develop a

network of surrogates who could speak on Guo’s behalf without being traced back to him and

who would be developed from online networks supportive of President Trump. Wallop proposed

a “three-year effort [with] an experienced team in [Washington D.C.] to advise Mr. G and help

him navigate the political and policy terrain, develop strategy, execute programming, and

coordinate messaging.” DX38.

       At the meeting, Guo stated that he “want[ed] now immediately information” and that the

“[f]irst month is critical for quality of information.” Trial Tr. at 383-84.

       Those ideas were further developed at a second meeting between Guo, Wallop, and

Waller on December 4, 2017. Trial Tr. at 134. L. Han and Yang were also at the meeting. At




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this meeting, Wallop presented a three-year timeline for the campaign. The objectives were

stated to be the following: “Remain free in the United States; Become a thought-leader and an

international statesman; Change thinking on China and incubate new ideas and strategies;

Develop and build self-replicating personal networks; Successfully drive long-term change back

home.” DX39.

       The proposal had several components, including the establishment of a foundation that

would be supportive of Guo’s objectives but would be structured so as to avoid the requirement

to register with the United States government as an agent of a foreign government or individual.

The components included: (1) the creation of “a personal presence in Washington, build friends

and allies, make it impossible for US to deport back to China,” including the development of

“support among Washington influencers and decision-makers” and “support among the

president’s nationwide grassroots base”; (2) “[d]evelopment of a proper personal presence

sufficient to rival the regime,” including the purchase of a “Washington residence to show

purpose and power, and provide hospitality” (a specific location was mentioned in Georgetown);

and (3) the creation of an institutional presence, including through a “Washington-based

educational and cultural foundation” that would not have to register under the Foreign Agents

Registration Act (“FARA”), 22 U.S.C. § 611 et seq., and through the acquisition of a “[p]hysical

office in downtown Washington, D.C.” Id. The three-year timeline concluded: “Implementation

of the three-year effort will require an experienced team in Washington to advise Mr. G. and

navigate the political and policy terrain, develop strategy, execute programming, and coordinate

messaging. These will all be direct and transparent. Most can be done through the Foundation,

which eliminates any need to register under FARA.” Id.




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       Strategic also proposed that it would marshal the social media network developed by

President Trump and would deploy alternative media to support Guo in ways that Strategic was

reluctant to put in writing. It noted that Strategic could provide an “‘[a]ctive defense’ campaign”

against those who were expected to “apply intense pressure on the US government to deport Mr.

G back to China,” including through “aggressive second-tier journalists in alternative media

(compartmented from the Foundation),” which “will be described verbally,” and by

“[o]rchestrat[ing] social media campaigns to promote Mr. G, attack his critics when needed, and

generate a groundswell of support among the President’s nationwide grassroots base to ensure

that Mr. G is never forced to leave the US against his will. This is also compartmented from the

Foundation.” DX39. Strategic proposed to charge anywhere from $33,000 to $120,000 per

month for its services. Id.

       A subsequent meeting occurred between Wallop, Waller, and L. Han on December 10,

2017. Trial Tr. at 134-35.

       Wallop and Waller had a third meeting with Guo on December 11, 2017. Id. at 134-36.

L. Han was also present at the meeting. Id. At that third meeting, the parties’ discussions turned

to the investigative services Strategic could provide to Guo. Id. at 137. Guo stated he was

interested in conducting an investigation into members of the CCP with the ultimate objective of

helping to overturn the regime. See, e.g., id. at 133, 137, 632-38. Strategic described its

extensive background in investigation, including its relationships with federal law enforcement

and other federal agencies that it could exploit. The investigative services Strategic proposed are

described in a PowerPoint prepared by Waller in consultation with L. Han and Wallop entitled,

“Time To Get Them: Beginning the psycho-political campaign for China,” a portion of which




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became the foundation for the Agreement. PX2. The PowerPoint described six parts of Phase 1

of the proposed work (the “Plan”):

           •   Run micro-targeted intelligence collection and analysis;

           •   Active threat reduction;

           •   Establish foundation and get it running;

           •   Network with Russian opposition;

           •   Acquire appropriate Washington, DC residence; and

           •   Acquire appropriate Washington, DC foundation offices.

       The Plan was discussed at a fourth meeting among Wallop, Waller, Guo, L. Han, and

Yang on or about December 21, 2017. Trial Tr. at 134-37, 252.

       The first part of Phase 1 of the Plan became the foundation for the Agreement. The goal

was to “[b]uild and operate a secret system for micro-targeted intelligence and collection

analysis.” PX2. The PowerPoint observed that “[t]his is an extremely sensitive capability that

must be handled with extreme care.” Id. In several bullet points, it describes the “intelligence

and collection analysis.” Id. It would involve ten targets (described as “fish”), who would be

monitored “for several months to understand their habits, patterns, personal and professional

networks, businesses, corruption.” Id. The objectives were to “[k]now what they are going to do

before they do it, so we can anticipate, pre-empt, and disrupt,” to obtain “leverage to gain

concessions, protect people, use as political weapon, or as aid in criminal prosecution and asset

recovery,” to “[p]rovoke confusion, panic, and infighting within CCP; divide opponents, peel

away potential allies; break the Party’s control of corruption information; operate more quickly

than Party can react,” to “[e]xpand the capability to go after all desired targets,” to “[b]urrow into

commercial and political networks for business purposes,” and to “[b]uild an image of

invincibility.” Id. Strategic thus understood that Guo wanted the investigation to uncover


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corruption relating to members of the CCP, including crimes committed by members of the CCP,

such as the illegal removal of funds from the country. Trial Tr. at 66. Other aspects of the Plan

included “reduc[ing] political threats to [Guo] and [his] cause” by “aggressive, grassroots, online

social media/activist network in the United States,” establishing a foundation for Guo,

networking with exiled Russian opposition leaders and internal Russian opposition activists,

acquiring a Washington, D.C. residence for Guo, and acquiring a Washington, D.C. office for

Guo’s foundation office. PX2.

       C.      The Negotiation of the Agreement

       By mid to late December 2017, the parties were in a position to negotiate the terms of

what became the Agreement. See, e.g., Trial Tr. at 137. The terms were initially negotiated by

Wallop and Waller with Guo and L. Han. At the final stages, Wang negotiated the terms of the

Agreement with Wallop and Waller.

       As reflected in the Plan’s PowerPoint describing the Plan, it appears that the parties

agreed early on that Strategic would obtain information on at least ten targets and that such

information would include financial information, tracking information, and information derived

from social media.

       From the evidence before the Court, the bulk of the negotiations concerned the financial

terms of the Agreement. The parties initially disagreed over those terms. Strategic wanted to be

paid a monthly retainer and to receive a large “evergreen” deposit that it could hold until the last

payment was made in light of the large start-up costs that the operation would require. Guo

wanted to pay only on a per report basis. Eastern was willing to pay a deposit but only if it could

be recovered if Strategic failed to provide the deliverables as defined in the Agreement. Trial Tr.

at 268-69.




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       Strategic expected Wang to sign the Agreement; Wang had become the liaison for Guo

by the end of negotiations. See, e.g., Trial Tr. at 139-40. Strategic expected Wang to sign by

December 29, 2017, in Virginia, as she had traveled to Washington D.C. the day prior, but the

parties still had an ongoing disagreement about the payment terms. Instead, on December 29,

2017, Wallop gave L. Han and Wang a tour of a number of estates and larger properties in

Washington D.C. and its environs that were good candidates for Guo to purchase. Id. at 139-41.

       The negotiations stalled for a few days but on January 5, 2018, Wang sent a text message

to Wallop stating that “both L [L. Han] and M [Guo] advised me that we [sic] supposed to meet

again.” Id. at 149; DX16. Negotiations then continued.

       Wallop’s negotiations with Wang and with Guo, both before and after January 5, focused

on the request that Strategic investigate an additional five subjects, as well on the concept of a

“waterline” in the “tank, “ (i.e., a minimum amount of work that Strategic would need for the

work to be worthwhile). As to the former request, Strategic agreed to investigate an additional

five subjects but only for the month of January. As to the latter request, Strategic insisted on a

minimum payment and a minimum number of subjects in order to commence the investigation

but agreed on a scale for the valuation of each report so that if the parties agreed that Strategic

would not deliver a particular report for a particular “fish,” an equivalent report would be

delivered for another fish.

       As expressed in the text messages, Strategic would be paid a monthly fee of $750,000 for

each of the first three months of the agreement (January, February, and March of 2018) and

would investigate 15 subjects for the first month and 10 subjects for each of February and

March. The number of subjects and the monthly rate would be adjusted thereafter. The fee

structure was further expressed in a January 5, 2018 text message from Wallop to Wang:




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       The agreement for 3 months is correct. January we have allowed 15 fish. 10 fish each
       for Feb and March. We will determine the subsequent monthly costs obviously by the
       next numbers of fish in the tank, once we have recapped the previous 3 months. That has
       not changed. We will agree that we will always have 10 fish minimum in the tank which
       may be adjusted by agreement each month thereafter March 30, 2018 depending on the
       actual fish count. We have fish count. We have discussed this and agreed to this formula
       from the beginning with your boss—that we remain flexible with his additions. Naturally
       if your boss adds or subtracts the number, we shall prorate or add amounts due the
       following month. The entire point of the water line in the tank was to keep the costs to a
       minimum and a planned budget for your boss. All of this was to give 30 units of reports
       per month as planned and agreed. Some months may therefore cost far large amounts
       than your boss has budgeted, then there will be additional fees per fish, solely becau . . .
       [the message was cut off].

DX16. The reference to “boss” was to Guo.

       In response, Wang wrote: “Can you please send the contract here? . . . There is of course

no impasse here. I work with several people, M [Guo] is one of them, saying for this project, he

is not the only boss.” Id. Wang and Wallop agreed that Wang would sign the contract the next

day, January 6, 2015, in person. Wang wrote: “[T]his contract and all communications from

contract signed tomorrow, are exclusively between NY [Guo], you, M [Waller] and me—four of

us.” DX17; see Trial Tr. at 153-55.

       The last-minute negotiations and changes to the terms of the arrangement are reflected in

the difference between a draft of the Agreement that Wang was given to negotiate with Wallop

and the final Agreement. Compare DX6 (draft), with DX4, and PX1 (final). The draft of the

Agreement, which is dated January 1, 2018, was virtually identical to the final Agreement with a

few significant exceptions. The third page of the draft Agreement recited prices of $300,000

annually per subject for each of the three reports Strategic was to prepare: forensic financial

reports, tracking reports, and social media reports. It calculated a total of $3,000,000 per year

“for 10 units or deliverables for the first stage . . . or $250,000 per month for 12 months.” DX6.

Each “unit” was a target or fish. It further provided:




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       These units or deliverables may be mixed and matched as the Client requests. As one unit
       is deleted from one fish, an extra fish with the equivalent deliverable is added, as shown
       in the attached charts. Such payments will be made following receipt of the agreed-upon
       number of reports per month.

DX6 (emphasis added).

       The final Agreement similarly required regular monthly installments. It calculated a total

of $9,000,000 per year for 30 units, i.e., 10 subjects each with 3 reports, “or $750,000 per month

for 12 months.” DX4; PX1.

       The final Agreement, however, contained a significant change in the language. It

provided the same language: “These units or deliverables may be mixed and matched as, the

Client requests. As one unit is deleted from one fish, an extra fish with the equivalent deliverable

is added, as shown in the attached charts.” DX4; PX1. But it deleted the following sentence

from the draft Agreement: “Such payments will be made following receipt of the agreed-upon

number of reports per month.” The change reflected the parties’ agreement that Strategic would

be paid a flat fee regardless of the number of reports delivered on any particular month. There

might be a variation in the number of reports delivered in a particular month depending, for

example, on whether Eastern added a new fish. On average, however, Strategic would deliver

three reports per month on each subject.

       In addition, the concept that the obligation to make regular monthly payments would

extend only for the first three months of the contract, as reflected in the draft, was replaced by a

new concept in the final Agreement that the term of the Agreement would be three years with

$9,000,000 due each year, but that the parties would meet “after the March reports and payments

[were] made” to “recap the accounting” and that such meeting would take place “prior to moving

forward with the next quarter.” DX4; PX1. Thus, the obligation to make regular monthly

payments at a rate of $750,000 per month would continue throughout the term of the



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Agreement—and the Agreement was terminable by either side on 30 days’ notice—but the

parties agreed to assess the value of the relationship and whether the terms should be changed

after the three-month period.

       In short, the compromise gave Strategic the comfort that, before it began work, it would

receive $1 million that it could devote to the establishment of an infrastructure and that Eastern

would not be able to terminate the Agreement without 30 days’ notice, thus providing Strategic

with an additional $750,000. The compromise additionally assured Eastern that it was not

irrevocably committing itself to the arrangement for the full three years, and that after three

months, the parties would look back to review the quality of the work before deciding how to

further proceed under the Agreement or whether changes should be made to it. See, e.g., Trial

Tr. at 269-78; PX1 (stating that after the first three months, the parties “will meet to recap the

accounting, prior to moving forward with the next quarter” and “that with any change to the

numbers above 10 fish in the tank, that [Strategic] will reserve the right to renegotiate [the]

financial Agreement”).

       D.      The Insertion of Eastern into the Agreement

       During negotiations, Guo requested that, to protect his confidentiality and anonymity, he

would not sign or be a party to the Agreement but that a separate entity would sign and be a

party. Strategic agreed.

       Either on the day the Agreement was signed (January 6, 2018) or only shortly before—

the witnesses disagree—Eastern’s name was first mentioned to Strategic. Strategic did very

little, if any, investigation into the identity of Eastern. Wallop simply assumed that it was a shell

company associated with Guo and determined that the company was registered in Hong Kong to

Guo’s daughter but did no other research. See, e.g., Trial Tr. at 285.




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       Both Wang and Han testified that, prior to Eastern being added as the party to the

Agreement, the two had a conversation in which Wang asked Han if Eastern would be interested

in commissioning Strategic to conduct research on figures in the CCP and in funding that

research and Han agreed. Id. at 413-14.2 The Court finds that testimony not to be credible.

Wang signed interrogatories in connection with this case. One of the interrogatories asked for

Eastern to identify the names of each person with knowledge of the Agreement, including its

negotiation. Wang, who signed on behalf of Eastern, did not include the name Han. DX5. The

Court finds that the testimony regarding Han was an after-the-fact creation to make it appear that

Eastern was an entity, separate from Guo.

       The more plausible inference, and the one that the Court draws, is that Guo told Wang to

provide the name Eastern to Strategic and to sign Han’s name to the Agreement. If there was

any conversation between Wang and Han, it was perfunctory, to confirm the arrangement that

Guo had already made and directed. At the time, Eastern was registered to the same address as

Guo’s family office in Hong Kong. It is now registered to an address that is also the residential

address of Guo’s daughter. Although at the time Han was the ostensible owner of Eastern, it has

now been transferred to Guo’s daughter but Han could not testify that he received anything in

exchange. Trial Tr. at 596. Eastern is a shell for Guo and his family.

       The Court draws that conclusion from several facts. At the time of the supposed

conversation, Eastern was essentially a defunct entity. Although, according to Han, its purpose




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  Wang testified that she met briefly with Han, told him that the investigation firm was very
capable and could assist in the investigation of high-level governmental officials from China, and
asked Han if he had an interest “to be part of this.” Trial Tr. at 414-15. She testified that she
told him the contract requested a $1 million deposit and that Han said he would figure out how to
get the money for the project. Id. at 415. He later called Wang to say he would take care of the
payment and that he was onboard and asked Wang to negotiate the contract. Id.


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was to make real estate investments, it had made no such investments. It had no assets other than

the $80,000 frozen in a Hong Kong bank account and it had no operations and no employees.

See, e.g., id. at 595-96. Its location was in the offices of Guo’s family company in Hong Kong

and its sole director was Guo’s daughter. It had no reason to be fund the research and no ability

to pay for the research. There was no evidence that anyone from Eastern read the Agreement or

even understood its terms before its name was put on the Agreement. Guo’s daughter did not

testify at trial. Han testified but his testimony was that he called Guo’s daughter, told her about

the project and that Eastern was going to participate, and that she agreed on the spot and

authorized him to take care of it. Id. at 567-69. He admitted that he was not aware of the name

Strategic until after this litigation began, that he never saw the Agreement, and that—aside from

the obligation to pay $1 million—he did not understand or know any of the terms of the

Agreement. Id. at 603-05. Han did not even see the Agreement at any time prior to signing, and

the first time he saw the Agreement was at his deposition in this case. Even at trial, he testified

that he did not know the content of the Agreement and that he had never read the Agreement

from beginning to end. Moreover, Wang did not tell Han of the obligation and Han did not know

of the obligation Eastern supposedly was assuming to pay Strategic $750,000 a month or even of

the obligation ultimately reflected in the Agreement that Eastern would pay Strategic $9 million

a year for Strategic’s services over a three-year period. Id. at 606.

       Aside from supposedly arranging for the payment of a $1 million deposit, there is no

evidence that Eastern did anything with respect to the Agreement. It did not make payments to

Strategic or provide the names of the persons to be investigated to Strategic (or even know which

names were being provided to Strategic).




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       Finally, the testimony of both witnesses was largely conclusory and when accompanied

by details, those details were discredited. Wang did not provide any details of the supposed

conversation with Han; her testimony as a whole was undermined by the repeated examples of

the prior inconsistent statements that she made at deposition. While Han’s prior inconsistent

statements were less pronounced than Wang’s, his testimony was no more convincing. Finally,

no director of Eastern even signed the Agreement; the Agreement was signed by Wang who

forged Han’s signature.

       E.      The Terms of the Agreement

       On January 6, 2018, Eastern and Strategic signed the Agreement. The Agreement is

dated December 29, 2017. Eastern is identified as the Client and Strategic as the Contractor.

       The parties executed the Agreement at Wallop’s home in Virginia. The Agreement was

ultimately signed by Wang and Wallop. Wang signed the Agreement in the name Han after Guo

approved its final terms for Eastern, which Wang read him over the phone.

       The Agreement is stated to be “for the purpose of providing business research, reporting,

documentation, and other consulting services.” PX1. Under the Agreement, Strategic agreed to

“conduct high quality original research and prepare reports on subjects chosen at [Eastern’s]

discretion for the purposes of detecting, stopping, and preventing crime or other harm to innocent

people” and to prepare research and reports on . . . three subject categories: A) Financial forensic

Historical research; B) Current Tracking research; and C) Social media research.” Id. Eastern

was to provide Strategic “the necessary basic information, and desired areas of focus . . . to

research,” including the “specified subjects” of the reports, identified in the Agreement as “fish.”

Id. Strategic was to provide Eastern with “comprehensive confidential reports” on 10 “fish” per

year on a timetable set forth in the Agreement. Id.




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        The “Financial forensic Historical research” was to “consist of, but not be limited to, in-

depth and detailed reports of existing and historical business and financial transactions, on

subjects selected by [Eastern], and relations of the subject as identified by [Eastern].” Id. at 1.

Strategic was required to produce a weekly progress report, a preliminary report in the first

month of the Agreement, one comprehensive report within three months of the Agreement, and

update reports each following month. Id. at 2. Under “Deliverables,” the Agreement specifies

that Strategic was required to produce these reports “as specified above one time per subject,

subject to occasional updating throughout the year.” Id. at 3.

        “Current Tracking research” was to “consist of, but not be limited to, in-depth and

detailed reports on movements of specified subjects by land, air, and sea (private and

commercial); schedules and itineraries, addresses and lodging, means of transportation, names of

carriers, manifests, geolocation, major events and significant contacts the subjects involved,

videos and audio that can be accessed remotely, and other data that may be of relevance to the

overall research, such as past travel records that may [sic] significant to the research.” Id. at 2.

Strategic was required to produce weekly reports in the first month of the Agreement and

thereafter research on a monthly basis. Id. Under “Deliverables,” the Agreement specifies that

Strategic was required to produce reports for each subject “monthly or more frequently as

[Eastern] directs.” Id. at 3.

        “Social media research” was to “consist of, but not be limited to, in-depth and detailed

reports on the social media usage and networks of specified subjects and public figures.” Id. at

2. Strategic was required to produce research on a weekly basis for the first month of the

Agreement and on a monthly basis thereafter. Id. Under “Deliverables,” the Agreement




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specifies that Strategic was also required to produce reports for each subject “monthly or more

frequently as [Eastern] directs.” Id. at 3.

       In all, Strategic was to provide deliverables on 10 subjects (or fish) on each of the three

topics for a total of 30 reports per year. Id. (Confusingly, the monthly and weekly deliverables

were also referred to as “reports” but were also considered to be “units.”) For the first month of

the Agreement (January 2018), Strategic was to provide “comprehensive confidential reports”

for up to “15 fish for a total of 30 reports.” Id. at 4. That figure was to “decrease to 10 fish for a

total of 30 reports at the beginning of the second month (February) and for (March) and for the

duration of [the Agreement].” Id.

       The research was to be “based on the best practices and standards of the industry,

comparable to other top firms with similar services” and Strategic was obligated to “make most

diligent efforts to ensure the served render[ed] are of very high quality, revealing a true,

complete and full profile of the subject.” Id. Strategic guaranteed “that all information provided

is genuine.” Id. at 3.

       At the same time, the Agreement also reflected the understanding that “occasional

unforeseen challenges may arise that will slow or block comprehensive research, and that there

may be periods in which information is irregular, unavailable, or incomplete.” Id. In such

circumstances, Strategic was obligated to “endeavor to make all research and reports as complete

was possible in a timely scheduled manner.” Id.

       The Agreement reflected the further understanding that Eastern “may not wish for each

of the 10 fish to be the subject of all three reports, and that the number of report work duties [sic]

per month will vary.” Id.




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       The parties agreed that the identity of the fishes or subject might change: “It is also

understood that [Eastern] may find it necessary to remove certain fish from time to time, or

[Strategic] may find circumstances do not permit sufficient work to research a given fish.” Id.

When a fish was removed from consideration, “a new fish will be put in its place by [Eastern],

keeping the number of fish being monitored at any time at 10.” Id.

       In exchange for Strategic’s commitment to conduct the identified research and to deliver

the reports, Eastern agreed to pay Strategic a monthly fee calculated on a scale of $300,000 for

each of the financial forensic historical research, current tracking research, and social media

research on a single “fish” for a total of $900,000 per fish per year for an aggregate of

$9,000,000 for the 10 fish (or $750,000 per month) to which Eastern and Strategic were

committing.

       The actual payment for Strategic’s services and reports was “to be made in regular

monthly installments of US$750,000, at the end of each month.” Id. at 5. The parties agreed

that “for the first 3 months of th[e] Agreement, January, February and March 2018, . . . the

payment of $750,000. USD will be wired per [Strategic’s] instructions to [Strategic’s] US Bank

account.” Id. at 4. “[A]fter the March reports and payments are made, [] all involved Parties

will meet to recap the accounting, prior to moving forward with the next quarter.” Id. Strategic

reserved the “right to renegotiate [the] financial Agreement” “with any change to the numbers

above 10 fish in the tank.” Id.

       The parties also agreed that Eastern would pay Strategic “a deposit of US$1,000,000 (one

million dollars) upon signing the contract,” which would “be credited on a prorated basis to the

final 1-1/3 (1.3) months of the contract.” Id. at 5.




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        The term of the Agreement was three (3) years from the date of signing but the

Agreement also provided that “[e]ither party may terminate the contract with 30 days’ written

notice.” No cause was required. Id.

        The Agreement contemplated that Eastern might want additional subjects to be

investigated and gave Eastern the right to “direct [Strategic] to conduct other research, not

specified in th[e Agreement] for an additional fee.” Id. at 4. It noted that both parties anticipated

that the contract “could expand to many more subject of research” and that Eastern had

“expressly stated that there could be as many as 4000 such ‘fish in the tank.’” Id. at 5. It

provided, “Obviously, negotiations for the far larger range will be agreed upon in writing at a

later date.” Id.

        Several provisions of the Agreement reflected the sensitive nature of the assignment and

the parties’ desire for confidentiality. The Agreement begins with the statement:

        Both parties agree that the nature of this contract, and work related to it, is highly
        confidential. Both parties are bound by the strictest secrecy not to disclose the existence
        of the contract, sources and methods used to execute the contract; and participants in
        formulating, supervising, or executing the contract’s provisions, to any third party, except
        as required under United States law or the laws of the State of Nevada.

PX1.

        It includes the agreement that “there will be single line of communication between

[Strategic] and [Eastern]” and that “[t]he individuals through which such communication will be

made will be identified upon the initiation of this contract.” Id. at 1. “Any and all materials

provided by [Eastern] to [Strategic] will be treated with absolute confidentiality and will not be

shared by [Strategic] with any other entity.” Id.

        It also provides that “[Eastern] may direct other entities to pay [Strategic], and that such

payments will be deemed satisfactory compensation by [Strategic].” Id. at 4.




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        All of the deliverables were to be provided “by USB drive only”; oral reports were

insufficient. Id. at 3.

        F.      ACA Capital Group Limited Provides the Deposit

        Even before the signing of the Agreement and as part of the negotiations that ultimately

led to the Agreement, Wallop had requested that Eastern provide a $1 million deposit.

        The deposit ultimately was provided by an organization called ACA Capital Group

Limited (“ACA”). On January 2, 2018, before the Agreement was finalized, ACA sent two

$500,000 wire transfers to Strategic that Strategic understood to be the deposit that the parties

had previously discussed in relation to the Agreement then under negotiation.

        The parties disagree as to the nature of the relationship between ACA and Eastern and the

basis upon which ACA funded the security deposit.

        Eastern claims that it borrowed the money from ACA. It points to a loan agreement

dated December 29, 2017 (the “Loan Agreement”) signed by Han on behalf of Eastern and a

William Je (“Je”) on behalf of ACA. The document has the formalities associated with a true

loan agreement. It purports to document a $1 million loan from ACA to Eastern with a 6-month

term and an interest rate of 2% compounded monthly “or otherwise mutually agreed by the

Lender and the Borrowing in writing from time to time.”3 PX11. The 2% interest is equivalent

to $20,000 for the first month. The Loan Agreement reflects that the loan is not collateralized

and that ACA would wire transfer the $1 million to a bank designated by Eastern.

        Strategic claims that the $1 million reflects an investment by ACA in the research venture

launched by Eastern and Strategic and that, in reality, Eastern did not borrow the $1 million from


3
  The Court overrules the objection to the authenticity of the Loan Agreement. There is
sufficient information before the Court to support its authenticity for the purposes of
admissibility (i.e., a factfinder could find it to be authentic). But, as factfinder, the Court finds
that the document does not reflect a genuine loan agreement.


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ACA and does not owe $1 million to ACA. It contends that the return of $1 million to Eastern

rather than to ACA would represent a windfall to Eastern because Eastern would have no

obligation to pay the funds over to ACA.

       The Court finds that the $1 million paid from an ACA bank account does not represent a

genuine loan from ACA to Eastern. It reaches that conclusion largely for the reasons identified

by Strategic. First, Eastern’s evidence regarding the extension of the loan is wholly implausible.

It is based almost entirely on the testimony of Han, the purported representative of Eastern.

According to his testimony, Han, who at the time had ceased his role as owner and director of

Eastern, called Je, whom he described as a good friend, upon learning of the obligation to pay

Strategic $1 million. Han knew Je as an opponent of the CCP and believed he might be

interested in funding anti-CCP research. Je stated that he was willing to extend the $1 million

loan and the parties agreed on a six-month term for the loan and a 2% interest rate. Han testified

that he saw the Loan Agreement for the first time on December 29, 2017 when he met Je at the

Palace Hotel in New York to sign the agreement. The meeting lasted 20 minutes. Han, who

does not read English, did not read the agreement which was in English and which he was

supposedly signing on behalf of Eastern; Je just pointed out to him the amount of the loan, the

interest rate, and the term. Han also did not get approval for the loan from Guo’s daughter—the

ostensible owner of Eastern—and the agreement he was signing on her behalf. He testified: “I

don’t need her approval; however, I did report such a matter to her.” Trial Tr. at 598-99.

       There was no discussion between Han and Je as to how Eastern would repay the loan.

Han stated that he gave the issue some thought but his testimony was not credible. He testified

that Guo’s daughter, who was interested in film, would be able through her film investments to

operate Eastern to make it profitable and to generate the $1 million (plus interest) necessary to




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repay ACA. Id. at 605-06, 610. As Han put it: “I also believe that after the company transferred

to Guo Mei and since she is very good in film, I believe she can operate this company and make

it profitable.” Id. at 606; see also id. at 610 (“Even though at the time that was 80,000 only, we

could still be operating and then we could still be investing in film.”). Wang also suggested that

the Hong Kong authorities might agree to lift the freeze on the funds based on Strategic’s

research. Id. at 439-40, 510-11. The testimony is implausible. Eastern’s assets were limited to

$80,000 in a frozen bank account. Regardless of the skill of Guo’s daughter as a film investor

(as to which no evidence was introduced), there would have been no way for Eastern to satisfy

the terms of the purported loan or to repay even the principal that it presumably owed, much less

the interest. The monies were more in the form of a gift.

       Notably, in its interrogatory responses, Eastern stated that it was Guo who, on behalf of

Eastern, ordered the two $500,000 wires totaling $1 million to be sent to Strategic. DX5.

       Strategic also points out that after the Agreement was signed, an additional $750,000—

the first monthly payment in January 2018—would have been due in just a few weeks, further

adding to Eastern’s debt load. In all, over $27 million would have been due over the three-year

term of the Agreement. Those terms thus had no economic substance for a company with the

value of Eastern.

       If ACA had loaned the money to Eastern, one would have expected each party to know

how much Eastern owed ACA. But the evidence at trial established that Eastern has not repaid

the loan, made any principal payments, or made any interest payments. At trial, Han was unable

to testify as to how much Eastern owed per month in interest on the loan. Trial Tr. at 607.

According to Han, Eastern’s only plan to repay the loan is if it wins the litigation. Id. at 574.

But that is a wholly implausible understanding of the obligations under the loan, which was




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reached before there was any litigation and which was made in order for Strategic to perform

under the Agreement.

        Wang also could not say with confidence what Eastern owed under the loan or what its

terms were. Despite being Eastern’s corporate representative—who had claimed authority to act

for Eastern even during the negotiation of the Agreement, through performance, and through the

litigation itself—Wang had not even seen the purported loan agreement when she first testified at

her deposition in January 2019, only later seeing it in the litigation file of her prior counsel. Id.

at 508-09. Although she testified that the counterparty to the loan, Je, had contacted her orally

and in person about repayment, that testimony was not credible. All she remembered was that he

said that he wanted the loan to be repaid. Id. at 504-07. He did not mention what ACA was

owed.

        There are also irregularities in the loan document and its production. Eastern’s agent,

Han, is shown to have signed the loan document as “Director,” but he was not Eastern’s Director

at the time. In addition, Eastern did not keep a copy of the loan document after it was signed.

There are no accounting records indicating a loan obligation to ACA.

        At the same time, however, the evidence does not support that ACA was an investor in

the research project. ACA did not provide the names of subjects to be investigated, it did not

receive any of the results of the research, there is no evidence that it made any arrangements in

advance to receive the results of the research, and there is no credible evidence that it made

requests after the fact to see the research. Although there is reference in certain documents to

“investors,” the Court found convincing Wang’s testimony that the reference was to constituents

who might use or benefit from the research and not persons who contributed money to fund the

Agreement. The source of the funds sent by ACA is unknown to the Court and was not the




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subject of testimony. But regardless of whether those funds are ultimately traceable to Guo as

Strategic suggested or are independent from him, the Court finds that they were a gift on behalf

of Eastern (and Guo) and not provided out of any obligation.

       G.      Strategic’s Performance Under the Agreement

       The execution of the Agreement imitates a fact pattern imagined by Robert Ludlum and

played out in the Pink Panther. It was shrouded in the secrecy befitting the best spy novels. It

was beset with mishaps befitting of Inspector Clouseau.

       Because of security concerns and for fear that any electronic communications would be

hacked or be transparent to the CCP, the parties agreed in advance that they would exchange

reports and identification of research subjects only by USB drives and through in-person contact

at secure locations.

       Strategic would coordinate with subcontractors (i.e., intelligence analysts in the U.S. and

overseas) to perform the research that Strategic would then incorporate into the reports for Guo.

Guo would not be allowed to contact the team/network because Strategic’s relationships and

approach to the research were proprietary, and Strategic declined to reveal the names or titles of

team members. Pursuant to Guo’s instructions and the parties’ agreement, instructions to the

investigators who would conduct the work, as well as the actual products of the research, could

not be transmitted by email but only in-person.

       The negotiated start date for the work under the contract was January 16, 2018. See, e.g.,

id. at 156, 161, 304, 319. The parties agree that the weekly Financial Forensic Reports, Current

Tracking Reports, and Social Media Reports were due no later than January 23, 2018, January

30, 2018, February 6, 2018 and February 13, 2018. See also PX1. The parties also agree that the

first monthly Financial Forensic Reports, Current Tracking Reports, and Social Media Reports

were due no later than February 16, 2018.


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       The parties further agree Strategic ultimately never delivered any “financial forensic

[h]istorical research” called for under the Agreement. Dkt. No. 299-1 (“JSOAF”) ¶ 54. The

parties also agree Strategic did not deliver to Eastern any “current tracking research” called for

under the Agreement. Id. ¶ 55. The parties further agree Strategic did not deliver to Eastern any

“social media research” called for under the Agreement. Id. ¶ 56.

       On or about January 6, 2018—the same day that the Agreement was signed—Wang

delivered to Wallop’s home in Virginia a set of USB drives containing information for a list of

15 individuals that Eastern wanted investigated under the Agreement (the “Subject List”). Trial

Tr. at 156-57; JSOAF ¶ 50. But when Wallop tried to access the USB drives, she discovered that

they were all corrupted. Surprisingly, Wallop brought the USB drives to a person described as

“a neighbor,” despite the fact that the Agreement and the information it sought were described as

highly secretive. The “neighbor” tested them and discovered that they did not contain any

readable files. Trial Tr. at 156-57.

       On January 8, 2018, Wallop met Wang in New York and obtained three more USB

drives. Fortunately, one of those worked and Wallop was able to download the files for the

persons who would be the subject of the investigation. Id. at 76-77, 157-58. The individuals

were virtually all high-ranking CCP members or persons closely related to high-ranking CCP

members or their children living in the United States and elsewhere. PX7.

       Wallop and Waller agreed to split the work. Wallop would focus on domestic

investigation. Waller would focus upon investigation done by investigators overseas.

       In early January 2018, Waller travelled to Europe and engaged a 10-person team of

computer and data analytic engineers to conduct data mining and research, including research

into the “dark web” (“Team 1”). See, e.g., Trial Tr. at 198, 289-92. Team 1 was led by a person




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whom Waller knew. The operation was shrouded in secrecy. Waller purchased computers for

the team in cash in three separate countries in order to prevent any electronic tracing of the serial

numbers of the devices to the purchaser. He also purchased electronic material in a fourth

country for the purposes of camouflaging the actual activity that was taking place. Information

could not even be exchanged by encrypted email or encrypted phone. Id. at 292. Per the

instructions of Guo, information could only be exchanged in person by exchanging USB drives.

There was compartmentalization to make sure that if any link in the chain was broken it could

not betray the other links in the chain. Travel was onerous because it would take two or three

days to do a round trip to meet in a third location to exchange data. Before Waller could give the

list of the 15 names to Team 1, he had to print out the names from a computer not connected to

the internet, scan them, and then place them onto a new encrypted drive to be delivered to

Europe. Id. at 304. Guo had also instructed that Strategic not have Mandarin speakers on Team

1 in case they were spies for the CCP. L. Han eventually permitted Waller to hire retired

European diplomats who spoke with fluent Mandarin who were not of Chinese background.

       Waller gave the names to Team 1 in Washington D.C. and traveled to Europe a few days

later to obtain a status report and to collect the research that the team had conducted (which was

stored on a USB drive). He received a drive from Team 1 on January 24, 2018 and delivered

that material to Wang two days later. Id. at 304-05.

       Wallop met with Guo at the end of January 2018. Id. at 162. At the meeting, Guo stated

that he needed the reports by January 26, 2018—10 days after the negotiated start date of the

Agreement but three days after the first deadline for the weekly reports.

       Strategic delivered a first USB drive to Eastern on January 26, 2018, after Waller’s return

from Europe. Strategic has admitted that the information contained on the USB drive delivered




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to Eastern on January 26, 2018 was “of no use to Mr. Guo or Eastern because it was nothing

more than the researchers’ own work to familiarize themselves with the fifteen subjects using

open-source information.” Id. at 199; DX2 at 35 ¶ 45. At a meeting with Wang, Waller stated

that the drive reflected the work that the team had done to orient itself and that several of the 15

names were misspelled. Trial Tr. at 307-310, 313-14. He also stated that the drive contained the

location of some offshore companies and the password to a computer server of the Chinese

government. Wang responded with disappointment as to the information, stating that it was not

“good enough” and was “all junk.” Id. at 314. In addition, while L. Han expressed the view that

Strategic had good leads and should keep working on them,4 he also relayed that Guo was angry

with the information that was delivered under the Agreement and believed that it reflected that

Strategic was incompetent and trying to “rip him off.” Id. at 320.5

          Waller traveled to Ireland to receive the second USB drive a few days later and

delivered it to Wang in Pennsylvania Station in New York on January 30, 2018. Id. at 199,

327-28.

        Wang took the second USB drive to Guo and placed it in the “virgin” laptop that had

been left by Strategic from the last meeting. The two discovered that the drive did not contain

useful information. The information on the drive was limited to raw code that was not actionable

by the client but was intended to show that the work was being executed. Id. at 200. The parties

agree that this second USB drive was not “of any use” to Eastern and that it contained




4
  L. Han, who did not testify at trial, also testified under oath at deposition that the hard drive that
Strategic provided contained only “lots of junk information.” Trial Tr. at 368. But L. Han was
an intermediary between Strategic and Guo and not Guo’s agent. Id. at 365.
5
  Waller testified that he did report to Wang or L. Han that Eastern had discovered from sources
other than social media that one of the people on Eastern’s list was carrying a counterfeit non-
Chinese passport of a NATO ally. Trial Tr. at 320-21.


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“incomplete work product . . . in the form of raw research data.” Id. at 78-79, 199, 200-01, 359,

383; DX2 at 28 ¶ 24. Among the information on the drive were encrypted email addresses and

passwords of communist figures on Guo’s list. Trial Tr. at 329. Strategic did not deliver any

other USB drives to Eastern and Strategic admits it “was unable to prepare any detailed reports.”

Id. at 79, 359.

        After the second meeting, and after Wang had conveyed the message in the wake of that

meeting that work with Strategic might not be continued for a second month, Waller made

arrangements with a new team (“Team 2”). Team 2 was from an obscure organization called the

Allied Special Operations Group (“ASOG”), which was purportedly based in Dallas, Texas.

Conspicuously, Strategic offered no evidence regarding the bona fides, qualifications, or

legitimacy of this organization. It would conduct the research using different methodologies

from those used by Team 1. Rather than using data mining and intrusive computer capabilities,

ASOG claimed it would work with other commercially available databases and contacts within

the federal government to do the research.

        Waller testified he met with ASOG in Texas in the first couple of days of February 2018

and presented ASOG with the list of subjects to be investigated, asking the organization to

research a selection of those names to see what it could discover using its own methods. Within

a week, ASOG replied to Waller with its results and Waller flew back to Texas to meet with it.

Waller testified that ASOG gave him an oral report at the meeting and permitted him to view—

but not take—the research ASOC conducted, which Waller testified included detailed tracking

information on the subjects. Id. at 95-96, 344-45.

        Waller further testified that he told L. Han at a subsequent meeting that ASOG had told

him that it was illegal to obtain this information under federal law given the nature of what was




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obtained.6 In particular, Waller testified that he stated that he had been told that it would be a

federal crime to investigate further the five subjects ASOG had investigated because the National

Clandestine Service of the CIA had classified the individuals in a category that ASOG said was

called “records protected.” Id. at 351-52. He testified that he was told and conveyed that this

classification is intended to protect foreign subjects from database searches for the purpose of

protecting their records either because they were subjects of criminal or national security

investigations or because they were cooperating with the United States government. Id. Waller

testified L. Han told him that he understood that the information was classified and that he would

come up with new names. Trial Tr. at 352-53. At the same time, however, ASOG was reluctant

to continue work on the assignment without knowing the identity of Strategic’s client. Id. at 354.

L. Han, however, ultimately did not provide additional names. Id.

       The testimony regarding ASOG is of dubious veracity. As noted, Strategic offered no

evidence of the qualifications of ASOG or its competence to do the work that it supposedly

performed. It also offered no evidence that ASOG actually did any work, save for the testimony

of Waller that he saw work and an invoice for $104,595 that ASOC reduced to $5,412

supposedly based on a “termination credit.” DX56; Trial Tr. at 345, 350. There was no

evidence offered—from either a fact or expert witness, or in the form of a document or

stipulation—that a classification of “records protected” even existed, much less that there was

any prohibition on ASOG sharing any work it performed with Strategic or with Eastern. Waller

himself had never heard of the term “records protected” before ASOG mentioned it to him and

he does not know of a legal source for it. Trial Tr. at 369-71. All that was offered is the



6
 Waller testified that he was instructed by Wang on or about January 30, 2018 that he should not
contact her in connection with the project anymore and that he should work solely with L. Han.
Trial Tr. at 349-50.


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testimony of what Waller was told, which was received solely for Waller’s state of mind and as

background for what he told L. Han, and not for the truth of what was stated.

       A few weeks later in February 2018, Wallop and Waller met with L. Han at Wallop’s

home. Id. at 354-56. L. Han told the two to stand down their work.

       H.      Eastern Terminates the Agreement With Strategic

       Neither Eastern nor ACA made the first monthly $750,000 payment that was due on

February 16, 2018 under the Agreement. Strategic did not deliver any of the monthly reports.

       On February 23, 2018, Eastern delivered a letter to Strategic terminating the Agreement.

Trial Tr. at 163; DX8; JSOAF ¶ 58.

       The letter purported to terminate the Agreement effective immediately and demanded a

full and complete refund of the $1 million deposit. After noting that the start date of the

Agreement had been delayed from January 6, 2018 to January 16, 2018, the letter listed a

number of missteps by Strategic that Eastern claimed constituted a breach of contract and

demonstrated that Strategic had fraudulently misrepresented its capabilities. These missteps

included the failure to deliver the reports required by the Agreement and the failure to meet the

schedule laid out in the Agreement. Eastern demanded that Strategic cease work immediately

and return or destroy all materials and information provided by Eastern to Strategic. The letter

demanded that the $1 million deposit be returned to ACA at a Singapore address.

       Strategic did not return the deposit.

       I.      Guo’s Alleged Misrepresentations

       Strategic, through Wallop and Waller, claims that Guo misrepresented his identity and his

objectives and that they reasonably relied upon his misrepresentations to Strategic’s detriment.

       Specifically, Guo represented to Wallop and Waller that he was an opponent of the CCP

and that he wanted to use the research Strategic would provide to sow discord in that


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organization and ultimately to overthrow the CCP and the current regime in China.7 Wallop and

Waller both testified that they were comfortable entering into an agreement with Guo because

they believed that he held the same anti-CCP views that they did and shared their objective of

undermining the CCP. Strategic claims it later learned that Guo was in fact affiliated with the

CCP and if it had known that prior to signing the Agreement, it would not have entered into the

Agreement.

       The Court finds that Wallop and Waller did not rely on Guo’s statements that he was

anti-CCP, that any such reliance would not have been reasonable given the facts here, and that

Strategic has not proved a misrepresentation by Guo.

       First, Wallop and Waller’s testimony that they relied on Guo’s statements was largely

conclusory and was undermined by the fact that, despite purportedly being investigators, they did

no investigation into Guo’s identity or allegiances, much less the identity and allegiances of

Eastern, the corporate entity that was later introduced into the transaction. Guo undoubtedly

represented that he was anti-CCP. He made that point vehemently in his testimony at trial.

However, from the evidence, it appears and the Court finds that what attracted Wallop and

Waller was the nature of the work: an investigation into alleged corruption by high-ranking

members of the CCP, funded by a person who claimed to be a billionaire who would pay them

$750,000 per month in order to do that research. They were less interested in the identity of the

funder, Guo, his personal political beliefs, and which faction he sided with in the internecine

battles within China.




7
 Gertz and L. Han made similar representations about Guo, but they did not do so as Guo’s
agent and their statements are not attributable to Guo.


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       Second, any such reliance would have been unreasonable. According to their testimony,

Wallop and Waller largely relied—to the extent they relied on anything—on the testimonials of

Gertz and L. Han. They knew that Gertz and L. Han held similar views to their own views, that

Gertz and L. Han had introduced Guo to Strategic, and that if Gertz and L. Han were willing to

associate with Guo and to make the introduction, Wallop and Waller simply assumed they

should be willing to associate with Guo.

       However, much of the information that Strategic now relies upon to suggest that Guo was

not genuinely opposed to the current leadership in China was in the public record before the first

meetings Wallop and Waller held with Guo and well before the Agreement was signed.

Sufficient evidence was available that should have caused Strategic to investigate. The fact that

it did not do any investigation, or ask Guo to make any representations, undermines the

reasonableness of any reliance it claims on Guo’s statements. Even before its first meeting with

Guo, Strategic had received information that “some suspect that [Guo] may simply represent a

faction in an internal leadership struggle.” DX38; see, e.g., Trial Tr. at 58-59, 203. Waller was

also aware of reports that Guo owed his fortune to ties to the CCP and that he maintained close

ties to senior CCP leaders after he left China. Trial Tr. at 203-04, 206. In the words of Waller,

Guo had made it “very public” that he rose up through the CCP and the secret police apparat,

Ministry of State Security (“MSS”), with MSS’s Deputy Head of Security Ma Jian (“Jian”). Id.

at 205, 207.

       Against this backdrop, it is telling that Strategic did not investigate Guo but rather simply

placed blind faith on the fact that Gertz and L. Han vouched for Guo. Id.; see also id. at 85-86,

88. By that time, however, Gertz had written an article dated May 23, 2017, stating Guo has

“close ties to senior Chinese Communist Party leaders, including government ministers and




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Politburo members” and “access to Ministry of State Security (MSS) operations overseas and in

the United States.” DX43. The article also reported that Guo’s wife and daughter were

permitted to visit him in the United States but were required to return to China after 20 days

where they could be used as political leverage against him—information that Strategic now says

is evidence of Guo’s relationship with the CCP. By October 9, 2017, Gertz had publicly written

that “Guo said he maintains close ties to supporters within the Chinese government and security

system and is able to obtain many internal documents.” DX32. Also in October 2017, the Wall

Street Journal published reports—of which Waller was aware—that Guo had met with four

officials from China’s MSS in his New York apartment. DX34. It is precisely these “close ties,”

the relationship with the MSS, and the fortune Guo made from the CCP that Strategic now relies

on to say that Guo is secretly allied with the CCP.

       Wallop testified that she did not know what Eastern or Guo were going to do with the

research and thought maybe Guo was going to “run it both ways.” Trial Tr. at 89. Yet neither

Wallop nor Waller insisted that Guo or Eastern make any representation about their being

anti-CCP or using the research only for anti-CCP purposes. At trial, Strategic, presumably a

sophisticated party, claimed that it did not include a representation in the Agreement because it

was concerned about confidentiality. That explanation was undermined, however, by the

evidence that the parties took to keep the Agreement (with its terms) confidential, including that

“there’s no decrypted electronic copy anywhere.” Id. at 386. The terms of the Agreement

themselves were confidential and kept highly confidential. The parties could have included a

representation in the Agreement regarding how the information would be used or about Guo’s

objectives had Guo’s objectives or his allegiances been important to Strategic. The fact that

Strategic did not even suggest that such a representation was ever made is revealing, in that it




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shows both that Strategic did not rely on any view regarding Guo’s politics or allegiances and

that any such reliance was not reasonable. Waller ultimately admitted that the reason that

Strategic did not include a representation—despite the fact that Eastern says it considered Guo’s

anti-CCP ties to be material—was because of the assumption that one was not needed: “[I]t was

just second nature to what we both wanted.” Id. at 386-87.

        Finally, there also is no clear and convincing evidence as to whether Guo is a supporter

or opponent of the CCP. Guo asserted forcefully at trial that he was an opponent of the CCP.

But other witnesses testified with equal force as to their belief that he was a friend of the CCP.

There is evidence of statements by him that are consistently hostile to the CCP. But there was

also evidence introduced at trial of a conversation that he had with officials of the CCP at his

apartment in which he declared his loyalty to Chinese President Xi Jinping and the CCP. See,

e.g., id. at 628-32, 716-21, 727-34, 736-50; DX114B.

        The Court credits a portion of the testimony of Waller. He stated:
        I’ve worked a lot with communist defectors over the years, actually since I was an
        undergraduate at George Washington University, and had some of them as professors. I
        learned over the years, as well as talking, learning through a lot of people in U.S.
        intelligence and counter-intelligence, that it’s very hard to discern whether someone who
        has broken with a communist system, whether it’s Soviet or Chinese or others, to discern
        conclusively whether or not they still maintain a loyalty.

Trial Tr. at 204.

        Waller went on to state that many defectors and dissidents “still maintain ties because

they had families or other connections, and those ties would be valuable if they were indeed

dissidents or genuine opponents because they could mine those ties for information that would be

useful to the United States, to do damage to their own system.” Id. at 204-05. Thus, Waller




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admitted that evidence of a relationship that someone has with people within the CCP on its own

is not necessarily indicative of the fact that he or she is a supporter of the CCP.8

       Strategic’s evidence that Guo was a secret supporter of the CCP largely consisted of the

testimony of another member of the Chinese dissident community, Sasha Gong (“Gong”);

statements by Guo himself; and circumstantial evidence. Guo testified assertively that he was

genuinely anti-CCP, and Eastern offered evidence of its own in support of that contention.

       Gong is a journalist and dissident. Gong testified that she interviewed Guo several times

beginning in April 2017 and continuing through 2018. The interviews were conducted both off

the record and live on-air. In the interviews, Guo claimed to Gong, and has also publicly

claimed, that he was arrested for his support of the 1989 Tiananmen Square movement. But Guo

also told Gong that, after a time in Hong Kong following Tiananmen Square, he came back to

mainland China, where he built real estate, made many high-ranking friends, and became one of

the major players in China’s intelligence community. Gong claims that Guo said he was one of

only three people who could visit Hu Jintao, the former general secretary of the CCP

(predecessor to President Jinping) without an appointment. He used this access to battle with the

former Vice Mayor of Beijing by allying with MSS Deputy Head Jian. Guo told Gong he

maintained connections with senior Chinese leaders and that he believed President Jinping was a

good leader; Guo’s only goal was to target corrupt persons in the CCP. Strategic argued that

those statements are consistent with a continuing relationship with the CCP.

       Strategic also argued that there is evidence Guo has moved money from Hong Kong or

mainland China since he began speaking out as a dissident through ACA and that persons




8
 Waller gave similar testimony when asked if Elliott Broidy, who was revealed to be funding
Strategic’s defense, was associated with the CCP. Trial Tr. at 387-88; see also id. at 181


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associated with Guo, such as Han and Wang, were comfortable with sending money from Hong

Kong or China into the United States and repaying the obligation to ACA by a transfer of funds

into China. It claims that Guo would not have been able to do so without the cooperation of the

CCP.

       Finally, Strategic argues that Guo has attacked dissidents such as Gong and Bob Fu

(“Fu”). Strategic argues that in continuing to attack members of the China Hawk community and

dissidents by claiming they are actually controlled by the CCP, Guo continues to turn members

of this community against each other.

       The evidence is not sufficient to establish that Guo is a supporter of the CCP.

       The force of Gong’s testimony—that she now believes Guo is a supporter of the CCP

based on his associations with certain political leaders, his later harassment of her, and certain

pro-CCP statements he is accused of making—is undermined by the fact that even after Guo

made the statements to her and after she was aware of his supposed continuing relationships with

persons who are members of the CCP, she wrote a letter on his behalf to the United States

government supporting Guo’s application for asylum and claiming that he was an opponent of

the CCP. In her letter, Gong wrote that Guo had challenged the legitimacy of communist leaders

in China, worked Chinese intelligence services, and financed operations investigating overseas

corruption by Chinese government officials, all of which made him valuable to the United States

government. Id. at 794-98; DX123.

       As to Guo’s alleged transfers of money and other circumstantial evidence, Strategic’s

arguments are based on speculation. It offered no evidence, expert or otherwise, regarding the

inferences that can be drawn from the fact that money travelled from Hong Kong or mainland

China to the United States supposedly on behalf of Guo. Indeed, Strategic’s presentation was




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telling for its failure or apparent inability to offer any expert testimony regarding the inferences

to be drawn from Guo’s relationships.

       As to the attacks on Chinese dissidents, Guo testified that his attacks were only ever in

retaliation: “I have never initiated any attack to any Chinese person. Always it was []they who

attacked me, then I retaliate.” Trial Tr. at 747. “I have never attacked. I was always on the side

of retaliation.” Id. at 748. He added: “I have never initiated any attacks on any person, only

under attack under the natural protection do I retaliate. And also, there were millions of people

or up to a million people online who were attacking me, and . . . it’s not possible that I would

retaliate against every one of them either.” Id. at 748.9 The evidence shows that Guo is

extraordinarily combative, as are other members of the Chinese dissident community. It does not

demonstrate on which side of the political battle Guo stands.

       Finally, there is evidence to question whether Strategic even believed it was defrauded.

Strategic did not assert a counterclaim for fraud when it filed its initial pleadings in this case.

Dkt. No. 22. Nor did it in its amended pleadings. Dkt. No. 47. It only asserted such claim after

it received litigation funding from an alleged opponent of Guo with an interest in undermining

his assertions of hostility to the CCP, a wealthy United States businessperson named Elliott

Broidy, whose credibility also is subject to question. See Dkt. Nos. 114, 127. Broidy was

convicted of federal crimes before he received a presidential pardon in 2020.10 The evidence




9
  When asked about whether he had accused Sasha Gong of being a communist spy, Guo
testified: “It was after she called me a spy, then I retaliate.” Trial Tr. at 748.
10
   Eastern offered evidence that Broidy himself was a supporter of the CCP as proof that
Strategic, which accepted litigation funding from him, did not truly care about the political
allegiances of those with whom it did business. See, e.g., Trial Tr. at 181:24-184:17. Some of
the evidence was subject to evidentiary challenge. The Court need not resolve those evidentiary
challenges because it is satisfied from the testimony of Wallop and Waller that they did not
actually or reasonably rely on Guo’s representations.


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suggests that the claim of fraud was not based on any evidence that Strategic discovered or on

any genuine view that Strategic was defrauded but on a recognition that the assertion of a fraud

claim would have strategic value in the case or otherwise.

II.     CONCLUSIONS OF LAW

        Eastern brings three claims: a declaratory judgment that the contract is illegal and void as

against public policy, breach of contract, and unjust enrichment. Dkt. No. 93. Strategic brings

two counterclaims for breach of contract and fraudulent misrepresentation. Dkt. No. 127.

        A.      Eastern’s Declaratory Judgment Claim

        Each party contends that the other breached the Agreement and that it is entitled to

damages. Before addressing the breach of contract claims, however, the Court must address the

argument in Eastern’s declaratory judgment claim that the Agreement is void and unenforceable

because it violates Virginia’s private security services statute and thus Eastern is entitled to a

refund of its deposit regardless of whether any party breached the Agreement. The Court holds

that the services contemplated by and performed under the Agreement fall within the conducted

prohibited by the statute and that the Agreement is therefore void and unenforceable. Eastern is

entitled to its deposit back.

                1.      Virginia Private Security Services Statute

        Under Virginia law, “a contract made in violation of a statute is void, and there can be no

recovery thereon, unless it is apparent from the statute that the legislature did not intend to make

the contract void and unenforceable.” Massie v. Dudley, 3 S.E.2d 176, 180 (Va. 1939) (holding

plaintiffs could not recover under an express contract for a real estate commission where they

were not licensed as brokers); see F. S. Bowen Elec. Co. v. Foley, 72 S.E.2d 388, 394 (Va. 1952)

(violation of statute preventing a contractor from “engaging in business until he has been

licensed and registered, and the acts prohibited are termed unlawful and punishment is provided


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in the statute for the violation thereof . . . is illegal, not merely invalid”) (internal quotation

marks and citation omitted). “[I]mplicit in Bowen and Massie is that failure to abide by the

provisions of a specific statute renders a contract invalid,” Am. Demolition & Design v. Pinkston,

96 Va. Cir. 142, 2017 WL 11452748, at *8 n.2 (Va. Cir. Ct. Aug. 2, 2017), and “[w]here the

Court has declared contracts void under this doctrine the plaintiff has not been able to recover

damages otherwise due him,” Beard v. Ragan, 51 Va. Cir. 229, 2000 WL 33258655, at *3 (Va.

Cir. Ct. Jan. 12, 2000). Under Virginia law, the “policy behind [a] licensing statute and the

underlying voidability of contracts for noncompliance” is to “protect the public from

inexperienced, unscrupulous, irresponsible, and incompetent contractors . . . [where]

[e]nforcement of the contract is denied the unregistered contractor, not because of the nature of

the transaction, but as a penalty for failing to comply with the registration statutes.” Butler v.

Creative Design Builders, Inc., 24 Va. Cir. 362, 1991 WL 11015277, at *2 (Va. Cir. Ct. Aug. 7,

1991) (quoting Bacigalupo v. Fleming, 102 S.E.2d 321, 324 (Va. Ct. App. 1958)). In essence, it

would undermine the policy of the statute for a court to award in damages monies for which a

party was not entitled to receive pursuant to law or regulation.

        Virginia’s “Private Security Services Statute” is a licensing statute that requires persons

who perform or contract to provide certain private investigatory work to have a license. It makes

it unlawful for a person to “engage in the private security services business or solicit private

security business in the Commonwealth [of Virginia] without having obtained a license from the

Department [of Criminal Justice Services].” Va. Code Ann. § 9.1-139(A). The statute defines a

“private security services business” to mean “any person engaged in the business of providing, or

who undertakes to provide . . . private investigators . . . to another person under contract, express

or implied.” Va. Code Ann. § 9.1-138. A “private investigator,” in turn, is defined to mean “any




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individual who engages in the business of, or accepts employment to make, investigations to

obtain information on (i) crimes or civil wrongs; (ii) the location, disposition, or recovery of

stolen property; (iii) the cause of accidents, fires, damages, or injuries to persons or to property;

or (iv) evidence to be used before any court, board, officer, or investigative committee.” Id.

        Strategic first argues that it did not violate the Private Security Services Statute by

entering into the Agreement because the work performed under the Agreement does not fall

within the purview of the statute. Specifically, it argues that Strategic did not provide private

investigators in Virginia: there was no actual investigation in Virginia as Team 1 and ASOG

were located elsewhere and there was no evidence that there was a target in Virginia.

        “[T]he constant endeavor of the courts is to ascertain and give effect to the intention of

the legislature, that intention must be gathered from the words used.” Chase v. DaimlerChrysler

Corp., 587 S.E.2d 521, 522 (Va. 2003). Thus, when interpreting statutes, “we start with the plain

language.” U.S. Dep’t of Labor v. N.C. Growers Ass’n, 377 F.3d 345, 350 (4th Cir. 2004); see

also Lamie v. United States Tr., 540 U.S. 526, 534 (2004) (“It is well established that when the

statute’s language is plain, the sole function of the courts . . . is to enforce it according to its

terms.”) (internal quotation marks and citation omitted). “[C]ourts apply the plain language of a

statute unless the terms are ambiguous, or applying the plain language would lead to an absurd

result.” Boynton v. Kilgore, 623 S.E.2d 922, 925-26 (Va. 2006) (internal citations omitted).

“Ambiguity exists if the text can be ‘understood in more than one way or refers to two or more

things simultaneously [or] when the language is difficult to comprehend, is of doubtful import, or

lacks clearness or definiteness.’” Id. at 926 n.8 (quoting Brown v. Lukhard, 330 S.E.2d 84, 87

(Va. 1985)). “The phrase ‘absurd result’ is used ‘to describe situations in which the law would

be internally inconsistent or otherwise incapable of operation.’” Id. at 926 n.9 (quoting Cook v.




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Commonwealth, 597 S.E.2d 84, 87 (Va. 2004)). But even “if the literal text of the statute

produces a result that is, arguably, somewhat anomalous,” the courts “are not simply free to

ignore unambiguous language because we can imagine a preferable version.” Sigmon Coal Co.,

Inc. v. Apfel, 226 F.3d 291, 308 (4th Cir. 2000), aff’d sub nom. Barnhart v. Sigmon Coal Co.,

534 U.S. 438 (2002).

       Under the plain language of the statute, Strategic’ conduct can qualify as that of a private

security services business not only if it is “engaged in the business of providing” a private

investigator but also if it “undertakes to provide” private investigators under contracts. The

focus of the statute is not limited to the actual performance of security services or the actual

investigation of crimes or civil wrongs; it also is addressed to the agreement to undertake such

services, regardless of whether the services are actually performed by the party to the agreement

or by someone with whom that party subcontracts. See Ervin B. Davis & Co. v. Dep’t of Crim.

Just. Servs., 49 Va. Cir. 447 (1999), judgment entered, No. 160-97, 1999 WL 907550 (Va. Cir.

Ct. Sept. 13, 1999) (“[T]he statute makes no reference to a quantity of private security services in

which the business must engage before the statute applies.”). The act of “undertaking to

provide” is what must occur in Virginia. The statute does not require that the private

investigator, or the information he or she seeks to obtain, must be located in Virginia as well.

       That the statute requires a private security services business to be licensed if, while in

Virginia, it “undertakes to provide” private investigators is reinforced by the statute’s reciprocity

provision. Under Section 9.1-140(10), Virginia exempts from its license requirement “[l]icensed

or registered private investigators from other states entering Virginia during an investigation

originating in their state of licensure or registration when the other state offers similar reciprocity

to private investigators licensed and registered by the Commonwealth.” Va. Code Ann.




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§ 9.1-140(10). The statute anticipates that a private security services business operating in

Virginia may require its private investigators, whether acting as employees or independent

contractors, to enter other states and so it affords consideration to out-of-state investigators

entering Virginia. That Virginia considers allows out-of-state private investigators to enter

Virginia “during an investigation originating in their state of licensure or registration” and gives

reciprocity to such out-of-state investigators, suggests that the Virginia legislature was focused at

least in part on where the investigation “originates” rather than where the investigation may lead.

Indeed, the provision making it unlawful for an unlicensed person to engage in a private security

services business in Virginia extends that prohibition to the “undertaking” of such business in

Virginia as well.

       Setting aside the second question of whether the services that Strategic undertook to

provide constitute “private investigation” as defined by the statute, Strategic’s conduct

manifestly occurred in Virginia. Strategic operated and continues to operate out of Wallop’s

home in Virginia. Trial Tr. at 37. The Agreement setting forth the services Strategic undertook

to provide was executed at Wallop’s home in Virginia. Trial Tr. at 69. Additionally, much of

the work that Strategic did in connection with the Agreement took place in Virginia. Strategic

received the Subject List and the first USB drive from Team 1 in Virginia. Trial Tr. at 319, 420.

       In light of this reading, the Court asked the parties to brief whether, to the extent that the

statute could be deemed to regulate commerce outside of its borders, the statute violated the

Commerce Clause. Article I, Section 8, Clause 3 of the United States Constitution empowers

Congress to “regulate commerce . . . among the several States.” U.S. Const., Art. I § 8, cl. 3.

The Commerce Clause contains a dormant aspect that denies the states “the power unjustifiably

to discriminate against or burden the interstate flow of articles of commerce.” Or. Waste Sys.,




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Inc. v. Dep’t of Env’t Quality, 511 U.S. 93, 98 (1994). A statute’s extraterritorial effect can

violate the Commerce Clause when it seeks to regulate commerce that takes place “wholly

outside of its borders.” Healy v. Beer Inst., Inc., 491 U.S. 324, 328 (1989). But the “critical

question” is “where the transaction being regulated is consummated” and “in grappling with

whether the practical effect of a regulation is to control conduct beyond the boundaries of the

State, the circuit courts have focused on the location (or locations) where the contract was

formed.” Berman v. City of New York, 2012 WL 13041996, at *18 (E.D.N.Y. Oct. 3, 2012); see

also Brown v. Hovatter, 561 F.3d 357, 365 (4th Cir. 2009) (rejecting plaintiffs’ challenge to “the

way [the State] authorizes them to do business within the State in a profession regulated by the

State” because such “complaints do not involve burdens placed on the interstate movement of

goods, materials, or other articles of commerce, and the matters of which they complain—the

manner of professional practice in [the State]—are not matters protected by the dormant

Commerce Clause”). That is because “there is a residuum of power in the state to make laws

governing matters of local concern which nevertheless in some measure affect interstate

commerce or even, to some extent, regulate it.” Kassel v. Consol. Freightways Corp. of Del.,

450 U.S. 662, 670 (1981) (quoting S. Pacific Co. v. Arizona, 325 U.S. 761, 767 (1945)).

       The statute here does not seek to regulate commerce that takes place “wholly outside of

its borders.” Virginia has an interest in regulating and licensing not just those who take

investigative actions within its borders but also those who in Virginia offer such services to

persons in Virginia regardless of where the services are actually performed. The statute reflects

that interest. It regulates private security services businesses in Virginia where that “private

security services business” is defined as engaged in the business of providing, or undertaking to

provide, private investigators by implied or express contract. A “private security services




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business” thus is subject to regulation when in Virginia it undertakes to provide private

investigators. That reading is also consistent with the purpose of the overall statute, which is to

create a local licensing and regulatory scheme. “In the immediate case, Virginia is not

attempting to regulate a contract occurring wholly outside the Commonwealth. The contract in

question was entered into in the Commonwealth of Virginia . . . [and] [w]hile it may be true that

elements of the transaction occurred outside of the Commonwealth of Virginia, this does not

necessarily deprive Virginia of its interest in regulating the transaction.” Atl. Mach. & Equip.,

Inc. v. Tigercat Indus., Inc., 427 F. Supp. 2d 657, 666 (E.D. Va. 2006).

       Strategic argues, second, that the services it undertook to provide did not include

investigations of the type enumerated in the statute: “(i) crimes or civil wrongs; (ii) the location,

disposition, or recovery of stolen property; (iii) the cause of accidents, fires, damages, or injuries

to persons or to property; or (iv) evidence to be used before any court, board, officer, or

investigative committee.” Va. Code Ann. § 9.1-139(A).

       The parties agree that there is little law on this statute. One Virginia state court

interpreting the definition of “private investigator” under the statute held that a company fell

within the definition of a “private security services business” because it employed “private

investigators” to obtain information listed in the statute.11 In Ervin B. Davis & Co., the court

held that the “activities in which the corporation engage[d] as evidenced by the Plaintiff’s

answers to Defendant’s Interrogatories and as described by the company’s advertisements,

including the web page information submitted . . . comport[ed] with the statutory definition of a



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   United States v. Commonwealth, 139 F.3d 984, 986 (4th Cir. 1998), which dealt with the
question of whether Leslie Miller v. Arkansas, 352 U.S. 187 (1956) precluded the application of
the Virginia’s licensing and registration requirements to private investigators working solely for
the FBI in its Background Investigation Contract Services Program, did not address the question
at issue in this case.


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private security services business.” 1999 WL 33722350, at *2. The court, however, did not

describe in its opinion what those precise activities were and how they fell into clauses (i)-(iv).

It did note that the company’s employees had performed surveillance investigations, but it did

not say what information was so surveilled.12 The court ultimately held that the company was

subject to a statutory exception to the licensing requirement due to its status as a claims adjuster.

See id. The case thus does not offer much guidance. Little guidance is also offered from cases

interpreting similar statutes passed in other states.13

        “In considering the meaning of particular language in context, ‘[w]ords in a statute

should be interpreted, if possible, to avoid rendering [other] words superfluous.” Eley v.

Commonwealth, 826 S.E.2d 321, 324 (Va. App. Ct. 2019) (quoting Cook v. Commonwealth, 597

S.E.2d 84 (Va. 2004)). “It is one of the fundamental rules of construction of statutes that the

intention of the legislature is to be gathered from a view of the whole and every part of the

statute taken and compared together, giving to every word and every part of the statute, if

possible, its due effect and meaning.” Epps v. Commonwealth, 626 S.E.2d 912 (Va. App. Ct.

2006) (en banc), aff’d, 641 S.E.2d 77 (Va. 2007) (quoting Posey v. Commonwealth, 96 S.E. 771



12
   It also held that any employees of the company who qualify as private investigators, including
its proprietor, would be subject to the registration requirement. Ervin B. Davis & Co., 1999 WL
33722350, at *2.
13
   Both parties agree that comparable private investigator statutes are of little help in attempting
to ascertain the definition of “crimes or civil wrongs.” Strategic submits that most states
requiring licenses typically define “private investigation” to include attempts to obtain
information about “crimes or civil wrongs” but limit that prong to crimes or wrongs against the
state and are therefore of little use. See Dkt. No. 360 at 2 & n.2. Other states’ statutes do not
provide such a limitation but have a catch-all prong that defines private investigation more
broadly to include information about “the identity, habits, conduct, business, occupation,
honestly, integrity, etc. of any person.” Id. at 2. Connecticut’s equivalent statute comes closest
to matching Virginia’s, but the parties have not identified case law on the definition of “crimes
or civil wrongs,” and the statute contains additional definitional prongs for “conducting
surveillance activity” and “conducting background investigations.” Id.; see Conn. Gen. Stat.
Ann. § 29-152u(4).


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(Va. 1918)). Moreover, under the canon of ejusdem generis, “when a particular class of persons

or things is enumerated in a statute and general words follow, the general words are to be

restricted in their meaning to a sense analogous to the less general, particular words.” Sainani v.

Belmont Glen Homeowners Ass’n, Inc., 831 S.E.2d 662, 667 (Va. 2019) (quoting Martin v.

Commonwealth, 295 S.E.2d 890 (Va. 1982)).

       Applying those canons, reading the statute as a whole and interpreting each provision of

clauses (i)-(iv) of the statute both individually but also as part of a collective group, the Court

concludes that they cover certain of the services Strategic undertook to provide in the Agreement

and therefore that Strategic violated the statute by entering into the Agreement. The Agreement

cannot be enforced.

       The meaning of the statute can be gleaned from several of its terms. It addresses only

“business” or “employment.” It does not address persons who act as volunteers or do work for

themselves and not for others. Second, the business that is regulated is that of providing

“investigations to obtain information”; research that is incidental to some other service is not

governed. A person must be contracted to conduct an “investigation to obtain information.”

Third, the information must be of a particular type or quality. As to type, a person is a private

investigator if he or she is in the business or accepts employment to make an investigation of

three types of information: information regarding “crimes or civil wrong,” information regarding

“the location, disposition, or recovery of stolen property,” and information regarding “the cause

of accidents, fires, damages, or injuries to persons or to property.” As to the quality of the

information, a person is also a private investigator if he or she conducts an investigation to obtain

“evidence to be used for any court, board, officer, or investigative committee.” Clause (iv) thus




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addresses an investigation of any subject matter but so long as its objective is to obtain items that

would qualify as “evidence.”

         The Court rejects Strategic’s argument that a person can be a private investigator only if

he or she is engaged in the process of collecting evidence to be used in some formal proceeding

or to prosecute an individual for a specific crime. That argument runs afoul of the principle that

the Court must strive to give meaning to each word in a statute and that state legislatures do not

write meaningless or superfluous language. Clause (iv) is addressed to the collection of

“evidence.” It specifically focuses on the collection of information to be used as evidence for a

court or an officer, including the collection of evidence to be used in a criminal prosecution.

Under the principle of avoiding surplusage, clauses (i)-(iii) must mean something different.

They cannot be limited to the collection of evidence for a formal proceeding. Instead, those

provisions by their terms are directed to the subject of the investigation—if a person is to offer

investigative services for money, it must be licensed if the investigation is to fall within one of

the three categories set forth in clauses (i)- (iii).

        The Court also rejects Strategic’s argument that for an investigation to be of “crimes or

civil wrongs” the investigator must be retained to investigate “some specific prosecutable

criminal act, rather than generally wrong or detestable behavior involving no particular victim.”

Strategic’s Proposed Findings of Fact & Conclusions of Law at 38 ¶ 3. That interpretation

makes no sense and would exclude from the statute much activity that is commonly understood

to be private or public investigative activity. It is not an infrequent occurrence that an

investigator who sets out on an investigation does not know where it will lead. He or she may

start off with a suspicion that the subject may have engaged in one form of conduct that may

implicate any number of different laws (none of which is specified in advance) only to come




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across conduct that may violate another law. There is no reason to think that the Virginia

legislature intended to protect the client who starts with a suspicion of specific criminal activity

engaged in by the subject and directs the investigator to follow the evidence but deny protection

to the putative client who merely starts out with the suspicion that the subject is generally a

criminal and asks the investigator to use its know-how to confirm the suspicion. Strategic does

not argue that an investigation that starts out with a broad net would fall outside of the

protections of the Virginia statute. But that is the implication of its argument. An investigator

could opt out of the statute and deprive the client of its protections by the mere expedient of

securing an engagement to investigate all crimes, rather than a specific crime.

         Strategic’s argument that an investigation must concern a “particular victim” is no more

persuasive. The number of criminal statutes, both federal and state, that address “victimless”

crimes is legion.14 Victimless crimes are generally understood to include crimes of public

corruption where the victim is not an identifiable individual but rather the public at large.15

Strategic has offered no reason why the Virginia legislature would require a license for the

investigation of a crime with an identifiable victim but not for the investigation of a victimless

crime.

         Once the scope of the statute is properly understood, it is evident that Strategic engaged

in a private security services business by undertaking to provide private investigators. First, the



14
   See, e.g., Uniform Crime Reporting Program’s National Incident-Based Reporting System
(2019) (reporting “crimes against society” as 15.8% of reported offenses in 2019); Matthew K.
Suess, Punishment in the State of Nature: John Locke and Criminal Punishment in the United
States of America, 7 Wash. U. Juris. Rev. 367, 384, 388 (2015) (“[T]he expansion of criminal
codes in the United States has led to the widespread prosecution of victimless crime. . . . In line
with the states, the majority of federal prisoners are convicted of victimless crimes.”)
15
   See, e.g., Mat Tromme, Waging War Against Corruption in Developing Countries: How Asset
Recovery Can Be Compliant with the Rule of Law, 29 Duke J. Comp. & Int’l L. 165, 218 (2019)
(“[C]orruption is often seen as a victimless crime.”).


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Agreement itself reflects that Strategic was hired to conduct research and prepare reports for “the

purpose of detecting, stopping, and preventing crime or other harm to innocent people.” PX1. It

thus was engaged to obtain information through investigators on “crimes or civil wrongs.” It is

no matter that the Agreement required Strategic to conduct research for the purpose of “detecting

. . . crimes,” id., while the statute defines a private investigator as one “who . . . accepts

employment to make [] investigations to obtain information on . . . crimes or civil wrongs,” Va.

Code Ann. § 9.1-138 (emphasis added). The “research” methods Strategic was to deploy are

those involved in investigations and the detection of crime is merely the outcome of the

enterprise of engaging in the collection of investigation of crime. It also is no matter that Guo

(and Eastern) had ulterior purposes for their detection of criminal activity—to bring down the

CCP and to bolster Guo’s chances for obtaining asylum. Persons do not hire private

investigators only for public-minded reasons. They occasionally will do so because a criminal

investigation and a criminal conviction will advance their private interests. Strategic also is not

exempted from the coverage of the statute because it undertook to investigate the “crimes” of the

ten subjects generically as opposed to specific crimes. To the contrary, the evidence at trial

established that Guo had a suspicion that the subjects whom he asked to be investigated had

engaged in corruption and other public wrongs and tasked Strategic with finding information

regarding that corruption and those public wrongs.

        The conclusion that Strategic engaged in conduct regulated by the Virginia Private

Security Services Statute but without the license required by that statute is reinforced by the

nature of the “reports” Strategic undertook to deliver and the methods it would use to prepare

those reports. The reports were not limited to the information that could be gleaned from

conventional internet searches or reviews of readily available public information such as a




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newspaper reporter or a book author might employ. To prepare the financial reports, Strategic

was to review confidential and not readily accessible information, such as “statements, capital

sources, inflow and outflow information, bank receipts, financial instruments, financial products,

statements of credits, precious metals transfers, commodity transfers, crypto currency exchange,

stocks and other equities, business ownership, real property ownership, trusts, large amounts of

spending, specific information to indicate the transaction participants, and other data required by

[Eastern].” PX1 at 1-2. This information is the stuff of private investigatory work, not mere

research. To prepare the tracking research, Strategic was to engage in the activities that are

engaged in by those who conduct surveillance, including tracking travel, private or commercial,

by land, air, or sea, and obtaining geolocation information and videos and audios that can be

accessed remotely. See id. To conduct the social media research, Strategic was to review such

other information accessible to private investigators, such as criminal databases, sex offender and

child abuse databases, passports and identification documents, and comments on social media.

See id.

          As Strategic admitted, the work thus included hacking into Chinese government servers,

obtaining evidence of forged U.S. documents, obtaining information regarding social security

fraud and tax fraud, finding the location of certain offshore companies, and obtaining

information regarding CCP members’ bank accounts. See Trial Tr. at 308, 314-317. All of this

work was to be done “based on the best practices and standards of the industry, comparable to

other top firms with similar services,” i.e., comparable to others engaged in private

investigations—the only conceivable industry with which to compare the services offered by

Strategic. PX1 at 3.




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         Thus, Strategic understood that a portion of the services that Guo sought pertained to the

investigation of crimes committed by CCP members. Wallop testified that Guo wanted “to

uncover corruption relating to members of the CCP . . . [i]ncluding crimes committed by

members of the CCP” and “information about funds stolen by the members of the CCP and taken

out of China illegally.” Trial Tr. at 65. Wallop testified at her deposition that Guo wanted

Strategic to “investigate and retrieve” information on the “great deal of corruption within the

leadership” of the CCP, such as “funds that would have been taken out of the country illegally,

cash payments.” Id. at 66. Guo also sought to obtain “information about location and

disposition and recovery of stolen assets,” and the “cause of injuries to persons or property.” Id.

at 40.

         The conclusion that Strategic was engaged in the private security services business, as

defined by Virginia law, is further supported by the work that Strategic performed after it was

engaged. Wallop admitted that she engaged in surveillance on at least one occasion. Waller

hired private investigators. Those investigators included Team 1, which engaged in data mining

and research, including research into the dark web, and Team 2, or ASOG, which accessed

commercially available databases and also contacts within the federal government. See supra.

Waller testified that he told Guo that he and Wallop could do the type of work he requested.

Trial Tr. at 191-92.

         Analyzing the definition of “private investigator” by the company it keeps in the

statutory definition of private security services business—which includes persons who fill such

quasi law enforcement functions as security officers, personal protection specialists, and

electronic security employees—those whom Strategic undertook to employ, and did in fact

employ, comfortably fit in. In Strategic’s own words, it was to deploy “an extremely sensitive




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capability that must be handled with extreme care.” PX2. Strategic’s investigators were

engaged in the types of activities engaged in by law enforcement.

       Strategic argues that its work did not constitute private investigation because Eastern

never reported or made an appointment to report any of the results to law enforcement, nor did

Eastern contract with another party to do so such research after the Agreement was terminated.

Aspects of that argument read as if Strategic is trying to benefit from its own failures. Under

Strategic’s argument, if a firm is unable to find information on crimes to report to law

enforcement, it means it could not have undertaken to find such information and therefore it does

not need to be licensed. That argument would require licensure only of good private

investigators; those who are unsuccessful would not ever need to be licensed. That result would

be plainly inconsistent with the intent of the Virginia legislature and the terms of the statute.

More importantly, however, the statute’s focus is on an unlicensed business’s offer to undertake

private security services and not on the actual use by the counterparty of the information that is

provided. If a firm as part of its business undertakes to investigate crimes within the meaning of

the statute and agrees to do so, it is irrelevant whether the party with whom it contracts

ultimately decides to bring the fruits of the investigation to law enforcement or not.

       Because Strategic undertook work that fell within the scope of Virginia’s Private Security

Services Statute, but failed to secure the requisite license therein, the Agreement is void and

unenforceable. See Urban Protective Servs. v. Great Latin Restaurants, 2007 WL 1660374 (Va.

Cir. Ct. Mar. 5, 2007) (noting prior ruling that plaintiff “could not contract to engage in private

security services as it was not licensed as required by the Code and that the contract was illegal

as a matter of law”); see also Massie, 3 S.E.2d at 181; Bacigalupo, 102 S.E.2d at 324-25.




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        Strategic argues that the Agreement cannot be void because Strategic did not commit a

“willful” violation of the statute. It devoted much time at trial to the evidence that Wallop and

Waller did not believe a license was necessary and that they had engaged in investigations in the

past without obtaining a license, as if by long usage, Strategic would acquire the right to act

without being regulated. It cites to the language in Massey, which states that “where a licensing

statute is a police regulation, having for its object the protection of the public, making it unlawful

for a person to engage in a business without a license, and imposing a penalty for its violation, a

contract made by an unlicensed person is void and unenforceable.” Massie, 3 S.E.2d at 181

(emphasis added). It argues that Virginia only penalizes “willful” private security licensing

violations under Va. Code Ann. § 9.1-147(B), which are knowing or intentional, see Correll v.

Commonwealth, 607 S.E.2d 119, 124 (Va. 2005), and that because any licensing mistake was not

willful, the Agreement cannot be void. Assuming that Strategic did not knowingly or willfully

violate Virginia law, it still is not entitled to retain Eastern’s deposit.

        Sections 9.1-147–150 provide for penalties in connection with violations of the statute.

Strategic focuses on Section 9.1-147(A), which reads, “It shall be unlawful for any person to: 1.

Practice any trade or progression licensed, certified or registered under this article without

obtaining the necessary license, certification or registration required by statute or regulation . . .

4. Violate any statute or regulation governing the practice of the private security services

businesses or training schools regulated by this article.” Va. Code Ann. § 9.1-147(A). “Any

person who is convicted of willful violation of [this subsection] shall be guilty of a Class 1

misdemeanor.” Id. § 9.1-147(B).

        But the other sections on penalties—one of which applies here—do not require willful

violations. Section 9.1-148 provides that any person convicted of a violation of its provisions,




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without reference to willful violation, shall be guilty of a Class 2 misdemeanor. Id. § 9.1-148.

Section 9.1-149 provides that any person convicted of a violation of its provisions, without

reference to willful violation, shall be guilty of a Class 1 misdemeanor. Id. § 9.1-149.

       Relevant here also is Section 9.1-150, which provides: “Any person required to be

licensed, certified or registered by the Board pursuant to this article who violates any statute or

Board regulation who is not criminally prosecuted is subject to the monetary penalty provided in

this section.” Id. § 9.1-150. In other words, if Strategic violated Section 9.1-139(A) by engaging

in the private security services business without the requisite license from the Department of

Criminal Justice Services in Virginia, but did so in a non-willful way, it could be subject to

monetary penalty under Section 9.1-150. If the violation was willful, Strategic could be subject

to criminal penalties under Section 9.1-147(A). Massie’s holding does not require a willful

violation; the court requires only that the statute impose a penalty for “a violation.” Massie, 3

S.E.2d at 181. It thus does not require that a willful violation be imposed to render a contract by

an unlicensed person void and unenforceable, only that there is some type of penalty. See id.

       The Court need not address Strategic’s alternative argument that if the Agreement fell

within clause (iv), it also falls within the exemption to clause (iv) under Va. Code Ann.

§ 9.1-140(29), which exempts any individual engaged in “computer or digital forensic services . .

., the acquisition, review, or analysis of digital or computer-based information, in order to obtain

or furnish information for evidentiary purposes or to provide expert testimony before a court.”

Va. Code Ann. § 9.1-140(29). The Court does not rest its conclusion on a finding that the

Agreement sought to obtain information on “evidence to be used before any court, board, officer,

or investigative committee” under clause (iv), but rather on a finding that Strategic undertook to

provide persons to conduct an investigation to obtain information on “crimes” under clause (i).




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          The Court also rejects Strategic’s in pari delicto defense.16 Strategic argues that even if

the Agreement were void as against public policy, Virginia courts will not afford equitable relief

where the “objects sought to be achieved” by the plaintiff were also illegal. Am.-LaFrance &

Foamite Indus. v. Arlington Cty., 192 S.E. 758, 761 (Va. 1937). It argues that the object of the

Agreement was illegal because Eastern intended to share the results of Strategic’s investigation

with third parties, including ACA and Golden Spring, in exchange for value.

          The in pari delicto doctrine provides that where a “the contract is illegal, as involving an

immoral purpose, or one for which a punishment is provided, and both parties have knowingly

joined therein, they are held to be in pari delicto, and the court will not render aid to relieve

either party of the consequences of their acts, but will leave them where it finds them. If the

contract is, however, merely invalid, or is based upon a transaction involving no moral turpitude,

and is simply contrary to some legal provision relating to the manner, method, or terms of its

performance, with no penalty provided other than its invalidity, the court will not require

performance of either the express contract or a contract by implication.” Id. “The doctrine of in

pari delicto, like the related doctrine of unclean hands, ‘prohibits a party from recovering

damages arising from misconduct for which the party bears responsibility, bears fault, or which

resulted from [ ] [its] wrongdoing.” Concord Crossroads, LLC v. Human Cap. Res. and

Concepts, Inc., 2020 WL 9367543, at *11 (E.D. Va. Sept. 2, 2020) (quoting Ashmore for Wilson

v. Dodds, 262 F. Supp. 3d 341, 353 (D.S.C. 2017)). It is “based on the principle that a party who

consents to and participates in an illegal act may not recover from other participants for the

consequences of that act.” Lee v. Nationwide Mut. Ins. Co., 497 S.E.2d 328, 329 (Va. 1998); see

also Stith v. Thorne, 488 F. Supp. 2d 534, 541 n. 6 (E.D. Va. 2007) (“The doctrine of in pari



16
     Strategic also failed to plead this affirmative defense in its Answer. See Dkt. No. 127.


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delicto stands for the principle that ‘a plaintiff who has participated in the wrongdoing may not

recover the damages resulting from the wrongdoing.’”) (quoting Black’s Law Dictionary 806

(8th ed. 2004)); see also In re Bogdan, 414 F.3d 507, 514 (4th Cir. 2005)).

       Virginia’s Private Security Services Statute does not penalize a party receiving the

research from a private security services firm for sharing that research for free with a third party.

There is no evidence that Eastern intended to resell the information or that it had contracted to do

so. The Court has found that the contribution by ACA was a gift and not part of a sale. The only

prohibition on sharing the research comes from the Agreement which contains a confidentiality

provision. See PX1 (“Both parties agree that the nature of this contract, and work related to it, is

highly confidential.”). But even if Eastern had shared the information with ACA or others, that

action would result in a breach of the Agreement and would not be illegal in and of itself. In

short, the wrong here is Strategic offering and agreeing to provide services to Eastern it was not

licensed to provide. It was not Eastern’s acceptance of those services.

       Finally, the Court rejects Strategic’s belated argument that the Virginia Private Security

Statute is unconstitutionally overbroad and vague. The argument is waived.17 It also is without

merit. A statute is overbroad if it prohibits or chills a substantial amount of protected speech.

“The substantiality of the overbreadth is determined examining the amount of protected speech

affected in relation to the amount of unprotected speech legitimately regulated by the statute.”

Nitke v. Ashcroft, 253 F. Supp. 2d 587, 606 (S.D.N.Y. 2003). A statute is vague if it “fails to



17
   Strategic first made this argument in its post-trial brief, which was also not an issue on which
the Court had asked for post-trial briefing. See Grand Light & Supply Co. v. Honeywell, Inc.,
771 F.2d 672, 679-80 (2d Cir. 1985) (district court erred in considering claim raised for first time
in a post-trial brief); U.S. Bank Nat’l Ass’n as trustee for Registered Holders of CD 2005-CD1
Com. Mortg. Tr., Com. Mortg. Pass-Through Certificates v. 2150 Joshua’s Path, LLC, 2020 WL
5417085, at *10 (E.D.N.Y. July 2, 2020) (“Plaintiff’s remaining arguments—raised for the first
time in its post-trial briefs—will not be considered at this juncture.”).


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‘give the person of ordinary intelligence a reasonable opportunity to know what is prohibited, so

that he may act accordingly.’” Id. at 608 (quoting Grayned v. City of Rockford, 408 U.S. 104,

108 (1972)).

        Strategic argues that the statute is overbroad and vague because it would regulate other

types of research, without giving notice to the parties conducting the research, including

“political candidates conducting research on opponents, business consultants hired to evaluate

competitors, and authors or journalists gathering data for books and reports.” Dkt. No. 360 at 9.

It cites to Gurley v. Mo. Bd. of Priv. Investigator Exam’s, 361 S.W.3d 406, 411 (Mo. 2012) in

which a plaintiff challenged a private investigator licensing statute as overbroad because it

reached further than professional private investigators by requiring, as plaintiff argued, “ordinary

citizens to obtain licensure before engaging in all manner of protected First Amendment

activity.” Id. Specifically, the statute made it unlawful for “any person to engage in the private

investigator business in [Missouri] unless such person is licensed as a private investigator” where

“private investigator business” was defined as:

        [T]he furnishing of, making of, or agreeing to make, any investigation for the purpose of
        obtaining information pertaining to:
             (a) Crimes or wrongs done or threatened against the United States or any state or
            territory of the United States;
            (b) The identity, habits, conduct, business, occupation, honesty, integrity, credibility,
            knowledge, trustworthiness, efficiency, loyalty, activity, movement, whereabouts,
            affiliations, associations, transactions, acts, reputation, or character of any person;
            (c) The location, disposition, or recovery of lost or stolen property;
            (d) Securing evidence to be used before any court, board, officer, or investigating
            committee;
            (e) Sale of personal identification to the public; or
            (f) The cause of responsibility for libel, losses, accident, or damage or injury to
            persons or property or protection of life or property.

Id. at 412. Plaintiff argued that this statute swept in numerous First Amendment-protected activities,

pointing specifically to subdivision (9)(b), which could include persons who use a social networking

website “to locate a former classmate or to search for a potential romantic partner.” Id.


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       Noting that the “primary rule of statutory interpretation is to ascertain the intent of the

legislature from the language used, to give effect to that intent if possible, and to consider the

words in their plain and ordinary meaning,” the court determined that the term “business” in the

definition of “private investigator business” limited the scope of private investigator-related

activities listed in the definition and indicated that the statute included within its sweep “only

investigations conducted by commercial entities.” Id. at 413 (quoting S. Metro. Fire Prot. Dist.

v. City of Lee’s Summit, 278 S.W.3d 659, 666 (Mo. 2009)). The court thus held that the statute

was not unconstitutionally overbroad because it regulated the activities listed in the statute “only

when done as part of a commercial enterprise carried on for profit or as part of a particular

occupation habitually engaged in for livelihood or gain” and that “ none of the hypothetical

unconstitutional applications suggested by [plaintiff] are authorized by the statute when it is so

construed.” Id.

       Here too, Virginia’s Private Security Services Statute refers to a “private security services

business,” defining it as “any person engaged in the business of providing, or who undertakes to

provide . . . private investigators.” Va. Code Ann. § 9.1-138. A private investigator is also

defined only in connection with a commercial enterprise. See id. (defining a “private

investigator” as “any individual who engages in the business of, or accepts employment to make,

investigations to obtain information”). Thus, the statute does not cover ordinary citizens doing

social media research. Nor, as the Court held above, does the statute address persons who act as

volunteers or do work for themselves, thus alleviating Strategic’s concern that the statute would

require the license of investigations by “authors or journalists gathering data for books and

reports” or by political candidates conducting their own research on opponents. Dkt. No. 360 at

9. The statute also clearly does not cover a business consultant who is hired to evaluate a




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competitor’s business—Strategic’s third hypothetical in its parade of horribles—but who is not

in the business of investigating the specific information listed under the statute, or if that

consultant was not engaged “to obtain information on (i) crimes or civil wrongs; (ii) the location,

disposition, or recovery of stolen property; (iii) the cause of accidents, fires, damages, or injuries

to persons or to property; or (iv) evidence to be used before any court, board, officer, or

investigative committee.” Va. Code Ann. § 9.1-138. If such information arose during the course

of the consultant’s work, that research would be “incidental” to the consultant’s other work, as

the statute’s focus is on an unlicensed business’s offer to undertake private security services and

not on the counterparty’s actual use of the information that is provided. See supra. Indeed,

construing the reference to private investigator by the company it keeps in the Virginia Private

Security Services Statute, and considering the activities Strategic performed and agreed to

perform, what is distinctive about those activities and what qualifies them for regulation is that

they constitute conduct, and in particular, conduct that is conventionally engaged in by law

enforcement but which Strategic here sold privately for commercial gain.

       Strategic’s remaining cited cases are either inapposite or do not support its argument. See

Gray v. Dep’t of Pub. Safety, 248 A.3d 212, 217, 223 (Me. 2021) (rejecting challenge to

professional investigator licensing requirement that applicants must have “demonstrated good

moral character” because it did not prohibit or constrain speech and because denial of plaintiff’s

application based on his presentation of false information as fact was “narrowly tailored to serve

the significant governmental interest in maintaining standards for licensing professional

investigators, who are responsible for researching and reporting on some of the most

consequential details of people’s lives”); Castillo v. Ingram, 2015 WL 3559104, at *1 (D. Nev.

June 5, 2015) (not reaching question of whether Nevada statute requiring individuals who work




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as private investigators in Nevada be licensed by the state violated the Free Speech Clause

because plaintiff lacked injury-in-fact); K-Mart Corp. v. St. Louis Cty., 672 S.W.2d 127, 132-33

(Mo. Ct. App. 1984) (ordinance requiring private investigators to first obtain a private

watchman’s license from the superintendent of police was not overbroad or vague because the

state has power to regulate police power and because the “ordinance conveys a sufficiently

definite warning as to the proscribed conduct when measured by common understanding and

practices”).

                2.     Relief

       Because the Agreement is void, Eastern is entitled to restitution in the amount of $1

million.

       A restitution measure of damages “aims to restore the nonbreaching party to as good a

position as the one she occupied before the contract was made, without attempting to compensate

her for consequential harms.” 360Networks Corp. v. Geltzer (In re Asia Glob. Crossing, Ltd.),

404 B.R. 335, 341 (S.D.N.Y. 2009); Daniel v. Wells Fargo Bank, N.A., 2013 WL 5723704, at *8

(E.D. Va. Oct. 17, 2013).

       Virginia and New York follow the Restatement (Third) of Restitution and Unjust

Enrichment to determine whether a party may recover the value of performance rendered in

connection with an illegal and consequently void contract. See, e.g., T. Musgrove Constr. Co.,

Inc. v. Young, 840 S.E.2d 337, 342 (Va. 2020); Mazzei v. Money Store, 308 F.R.D. 92, 106

(S.D.N.Y. 2015), aff’d, 829 F.3d 260 (2d Cir. 2016).

       Under Section 32 of the Restatement (Third) of Restitution and Unjust Enrichment:

       A person who renders performance under an agreement that is illegal or otherwise
       unenforceable for reasons of public policy may obtain restitution from the recipient in
       accordance with the following rules:




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                  (1) Restitution will be allowed, whether or not necessary to prevent
                  unjust enrichment, if restitution is required by the policy of the
                  underlying prohibition.

                  (2) Restitution will also be allowed, as necessary to prevent unjust
                  enrichment, if the allowance of restitution will not defeat or frustrate
                  the policy of the underlying prohibition. There is no unjust
                  enrichment if the claimant receives the counterperformance
                  specified by the parties’ unenforceable agreement.

                  (3) Restitution will be denied, notwithstanding the enrichment of the
                  defendant at the claimant’s expense, if a claim under subsection (2)
                  is foreclosed by the claimant’s inequitable conduct (§ 63).

Restatement (Third) of Restitution and Unjust Enrichment § 32.

         Where Section 32(1) applies, the Court need not engage in a traditional unjust enrichment

analysis. Id. cmt. C. Instead, under Section 32(1), the party that performed under an agreement

that is void as against public policy is entitled to recover the value of that performance, without

considering whether that party derived any benefit thereunder, where the demands of policy so

require. Id. § 32(1), Illustration 21. For example, where a client pays for services to a contractor

that is not licensed to provide those services, Section 32(1) requires the contractor to return the

payments made by the client irrespective of whether it conferred some type of benefit upon the

Client. Id. Illustration 21 states:

         21. A pays B $2000 in advance for a series of medical treatments. After two visits to B’s
         office, A learns that B is not licensed to practice medicine. A repudiates the agreement
         and asks for his money back. A is entitled to recover $2000 from B by the rule of § 32(1).
         It is irrelevant to A’s recovery that he may have derived benefit from B’s services.

Id.; see also Illustration 4; Illustration 18.

         Restitution damages can include, for example, the return of a deposit paid under a

contract that the defendant has failed to perform. See In re Asia Glob. Crossing, Ltd., 404 B.R.

at 342 (stating that restitution damages are particularly appropriate when used to recover a

deposit or down payment paid pursuant to a contract that was not performed by the other party);



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Gulati v. Coyne Int’l Enters. Corp., 805 F. Supp. 365, 371 (E.D. Va. 1992) (similar); Busman v.

Beeren & Barry Invs., LLC, 69 Va. Cir. 375, 379 (Va. Cir. Ct. 2005) (similar).

       Here, pursuant to Section 32(1) of the Restatement (Third) of Restitution and Unjust

Enrichment and consistent with Illustration 21, Eastern is entitled to recover the $1 million

deposit it paid to Strategic, and it is irrelevant whether it derived any benefit from Strategic’s

attempt to perform under the Agreement.

       The Agreement authorized Eastern to “direct other entities to pay [Strategic], and that

such payments will be deemed satisfactory compensation.” PX1 at 5. The $1 million deposit

was paid by ACA. As the payor of the $1 million deposit, it may be that ACA has a claim to that

restitution amount as against Eastern. However, the fact that ACA was the immediate payor of

the monies due from Eastern does not relieve Strategic of its liability to Eastern in this matter.

Nor does it permit Strategic to retain the sums. It is sufficient that the payment of the $1 million

relieves Strategic of any liability in restitution to either Eastern or ACA. See Restatement

(Third) of Restitution and Unjust Enrichment § 48 (“If a third person makes a payment to the

defendant to which (as between claimant and defendant) the claimant has a better legal or

equitable right, the claimant is entitled to restitution from the defendant as necessary to prevent

unjust enrichment.”); see also id. § 64 cmt. c & Illustration 3.

       B.      Remaining Claims

       The Court’s ruling that the Agreement is void and that Strategic is not entitled to retain

the $1 million deposit but must return it to Eastern disposes of this case. The Court nonetheless

addresses the parties’ remaining claims in the alternative. The Court concludes that even if the

Agreement were not in violation of the Virginia Private Security Services Statute, Eastern would

be entitled to the return of $250,000 of its deposit.




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                1.      Breach of Contract

        Strategic and Eastern each claim that the other materially breached the Agreement.

Eastern claims that Strategic breached by failing to provide the weekly reports and monthly

reports and thus that it is entitled to return of its deposit on that basis alone. Strategic disputes

that it materially breached the agreement and argues that it was Eastern who breached the

Agreement by failing to pay the monthly fee as due on February 16, 2019.

        The elements of a breach of contract claim under Virginia law are: (1) the existence of a

contract; (2) performance or offers by the plaintiff to perform under the contract; (3) the

defendant’s failure to perform under the contract or breach of the agreement; and (4) actual

damage to the plaintiff caused by the breach.” Car Pool LLC v. Hoke, 2012 WL 4854652, at *3

(E.D. Va. Oct. 11, 2012) (citing Filak v. George, 594 S.E.2d 610, 614 (Va. 2004)); see also

Dodge v. CDW Gov’t, Inc., 2009 WL 1605010, at *3 (E.D. Va. June 5, 2009) (stating same).

Similarly, under New York law, the elements of a breach of contract claim include: “(1) the

existence of an agreement, (2) adequate performance of the contract by the plaintiff, (3) breach

of contract by the defendant, and (4) damages.” Ellington Credit Fund, Ltd. v. Select Portfolio

Servicing, Inc., 837 F. Supp. 2d 162, 188-89 (S.D.N.Y. 2011) (quoting Harsco Corp. v. Segui, 91

F.3d 337, 348 (2d Cir. 1996)); see also Tessler v. NBC Universal, Inc., 2009 WL 866834, at *6

(E.D. Va. Mar. 31, 2009), aff’d sub nom. Tessler v. Nat’l Broad. Co., 364 F. App’x 5 (4th Cir.

2010) (“[B]oth New York and Virginia law essentially require the same elements for a legally

enforceable contract.”).18


18
  Strategic cites to New York law for the breach of contract claim, while Eastern cites to both
New York and Virginia law. “Federal courts sitting in diversity apply state substantive law.”
Ellington Credit Fund, 837 F. Supp. 2d at 179-80 (citing Gasperini v. Ctr. for Humanities, Inc.,
518 U.S. 415, 427 (1996)). The Court has included references to both New York and Virginia
law but “[w]here both parties rely upon New York law in their briefs, the Court may assume the
parties impliedly consent to the application of New York law.” Fort Prods., Inc v. Men’s Med.


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                       a.      The Parties’ Claims

       Eastern alleges that Strategic breached by failing to provide quality information in the

form of the weekly reports by the Agreement’s deadlines and that it is entitled to restitution

damages in the amount of the $1 million deposit because Strategic conferred no benefit. It

argues that Strategic was in material breach no later than January 30, 2018 after it failed to

timely deliver the first weekly report on January 23 and when it delivered the USB drives with

the “useless” information on January 26 and January 30. Strategic does not deny that it did not

provide the report, but rather defends that Eastern substantially hindered its performance and

therefore Strategic cannot held it in breach, i.e., it argues frustration of purpose and lack of good

faith and fair dealing. It also argues that to the extent it breached the Agreement, the breaches

were not material. In addition, Strategic argues, Wang and L. Han instructed Strategic to keep

working and thus Eastern lost its right to terminate the contract based on the alleged breaches.

       Strategic’s counterclaim alleges that Eastern first breached the Agreement by failing to

pay the $750,000 monthly payment due on February 16, 2018.19 It argues Eastern breached the

Agreement again when it delivered a termination letter without 30 days’ notice. Eastern

responds that Strategic’s performance was to precede Eastern’s payment of the $750,000 and

because there was no performance, it did not breach in its failure to pay. In addition, Eastern

argues that because $1 million was to be credited to work performed on a prorated basis to the

final 1 1/3 months of the Agreement, PX1, it did not fail to pay Strategic the $750,000 because

Strategic had the $1 million in its account that it could prorate. If both parties breached, Eastern


Clinic, LLC, 2016 WL 797577, at *1 n.1 (S.D.N.Y. Feb. 23, 2016) (citing Krumme v. WestPoint
Stevens, Inc., 238 F.3d 133, 138 (2d Cir. 2000) (“The parties’ briefs assume that New York law
controls, and such implied consent . . . is sufficient to establish choice of law.”) (internal
quotation marks and citations omitted)).
19
   The Court rejects Strategic’s argument that Eastern breached the contract by having ACA pay
the $1 million deposit. See supra.


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argues it would still get its $1 million deposit less any substantiated benefit conferred by

Strategic, which it claims was zero or at most, $338,709.68 for the 14 days of work performed by

Strategic prior to its breach.

        The Court concludes that Strategic did not materially breach the Agreement by delivering

the “useless” USB drives or failing to deliver the weekly reports, but that it did breach by failing

to deliver the first monthly report on February 16, 2018 in accordance with the Agreement.

Eastern also breached by failing to pay the $750,000 monthly fee on February 16, 2018. There is

thus a simultaneous breach. As a result, Eastern was within its rights in terminating the

Agreement shortly after February 16 and Strategic is not entitled to performance or damages

from Eastern. Eastern also is not entitled to performance or damages from Strategic.

                        b.       Eastern’s Claim

        Eastern argues that Strategic breached the Agreement by failing to deliver the progress

report on the financial forensic research each week in the first month of the Agreement, weekly

current tracking reports each week during that first month, and social media research each week

during the first month. The parties agree Strategic never delivered any financial forensic

historical research, current tracking research, or social media research called for under the

Agreement. JSOAF ¶¶ 54-56. The two USB drives that Strategic delivered were useless: the

first contained only the researchers’ own work to familiarize themselves with the subjects based

on open source information while the second was unreadable raw material delivered from a

subcontractor who refused to provide the actual information. Strategic also never provided any

monthly reports. Eastern argues that Strategic breached the Agreement. Strategic claims that

any breaches were immaterial or were caused by Eastern who frustrated its performance.

        The Court begins, as always, with the Agreement. See, e.g., Kelly v. Ammado Internet

Servs., Ltd., 2012 WL 4829341, at *3 (E.D. Va. Oct. 10, 2012) (“To interpret a contract’s terms,


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Virginia courts ‘consider the words of [the] contract within the four corners of the instrument

itself.’”) (quoting Mathews v. PHH Mortg. Corp., 724 S.E.2d 196, 201 (Va. 2012)). The

Agreement is not a model of clarity. Each side presents powerful arguments. The Court

concludes that the failure to deliver the weekly reports or research during the first month was not

a material breach.

        “A material breach is a failure to do something that is so fundamental to the contract that

the failure to perform that obligation defeats an essential purpose of the contract.” Horton v.

Horton, 487 S.E.2d 200, 204 (Va. 1997); see VFS Fin., Inc. v. Falcon Fifty LLC, 17 F. Supp. 3d

372, 379-80 (S.D.N.Y. 2014) (“A breach is material if it “go[es] to the root of the agreement

between the parties [and] is so substantial that it defeats the object of the parties in making the

contract.”).

        In some senses, the Agreement here is akin to an installment contract. Strategic was to

conduct research on three topic areas with respect to ten individuals designated by Eastern and to

deliver the fruits of that research in the form of periodic reports: (i) weekly and then a

preliminary report in the first month for financial forensic historical research, (ii) weekly and

then monthly in the case of current tracking research, and (iii) weekly and then monthly for

social media research. “[T]he most effective way” for Eastern to have made clear that the failure

to deliver each of the specified reports each week during the first month would have been to say

that time was of the essence in the Agreement. ADC Orange, Inc. v. Coyote Acres, Inc., 857

N.E.2d 513, 516 (N.Y. 2006). For example, where a party has failed to make payment in a

contract for the purchase of real estate, “whether [a] [party]’s late installment payment

constitutes a material breach depends on whether time [i]s of the essence with respect to that

payment.” Id. (contract for purchase of real property). Whatever its expressed desires in the




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Agreement or during contract negotiation, Eastern here did not insist on a provision that time

would be of the essence. It thus cannot avail itself of that doctrine.

       The absence of an explicit “time is of the essence” provision is not dispositive, however,

of Eastern’s claim. It just requires the exercise of judicial interpretation. Although “[t]ime is

generally of the essence where a definite time of performance is specified in a contract,” that is

not so where “circumstances indicate a contrary intent.” Burgess Steel Prod. Corp. v. Mod.

Telecomms., Inc., 613 N.Y.S.2d 158, 159 (1st Dep’t 1994). “The mere designation of a date

upon which a thing is to be performed does not alone bring about [the] result [that time is of the

essence].” Ring 57 Corp. v. Litt, 280 N.Y.S.2d 330, 332 (2d Dep’t 1967). “What constitutes a

reasonable time for performance depends upon the facts and circumstances of the particular

case.” Zev v. Merman, 533 N.E.2d 669, 669 (N.Y. 1988). Indeed, courts have held that “[i]n the

absence of a provision that time was of the essence, the plaintiff was required to communicate

unequivocal notice that tardy payments would not be accepted.” Cmty. Nat. Bank & Tr. Co. of

N.Y. v. Joseph, 504 N.Y.S.2d 185, 185 (2d Dep’t 1986).

       Reviewing the Agreement as a whole, the Court concludes that the requirement that

Eastern deliver reports on all three subjects for the 15 fish in each week of the first month was

not a material term of the Agreement and that the failure to deliver those weekly reports did not

defeat an essential purpose of the Agreement. The Court starts with the fact that the Agreement

was intended to create a long-term relationship between the parties. Eastern retained Strategic to

conduct research over a three-year period terminable only on 30 days’ notice. Although the

Agreement gave Eastern the right to “remove certain fish from time to time,” it was not

necessarily the case that Eastern would choose to do so or that Strategic would find

“circumstances do not permit sufficient work to research a given fish.” PX1 at 3. The




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Agreement contemplated that Strategic might continue its research on a given subject throughout

the entire three-year period. See, e.g., id. at 2 (noting that, for current tracking research, Eastern

could direct more frequent reporting “for up to a six-month period”). In these circumstances, it

is impossible to say that the failure to deliver research on one or more or even all of the subjects

in the first couple of weeks of the Agreement would frustrate or defeat the purpose of the

Agreement as a whole.

          That conclusion is reinforced by numerous other provisions of the Agreement. In the

first instance, the timing of the weekly reports and the form which they were to take are stated in

the Agreement in somewhat vague terms, hardly the unequivocal and definitive language one

would expect if time were of the essence for each of the reports. The financial forensic research

was to be in the form of “a progress report . . . each week in the first month,” with no specific

date set for delivery or specific content required. Id. The language with respect to the weekly

current tracking research and social media research similarly is general: it refers to “research”

not reports and provides for that research to be delivered weekly without setting a date certain.

See id. It stands in contrast to the more definitive language with respect to the monthly reports—

a “preliminary report” on financial forensic historical research in the first month, id.; “Current

Tracking reports for each subject . . . produced monthly,” id. at 3; and “Social media reports . . .

produced monthly,” id. Indeed, the weekly reports are not even singled out as “Deliverables.”

See id.

          Moreover, Eastern did not give Strategic the final list of subjects to research and was not

required to do so until the Agreement was signed, one week before the first weekly reports were

due. See id. at 1. It thus could not have been within the reasonable contemplation of the parties

that Strategic would have been required to deliver actionable information as to each and every




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one of the subjects in the first couple of weeks of the Agreement. Strategic did not even know

for certain who the subjects were and whether they would be able to be researched. Indeed, the

Agreement itself recognized that the “circumstances [might] not permit sufficient work to

research a given fish.” Id. at 3.

       Furthermore, Strategic was not even required to continue the research for five of the

original 15 subjects designated by Eastern beyond the first month, and Eastern would not be

entitled to reports on those subjects in the ensuing months. Strategic was required to research 15

subjects in the first month. It was required to research only ten subjects in each of the following

months. At the time the Agreement commenced, the parties did not know which, if any, of the

15 initial subjects would form the group of ten subjects for the rest of the research. It is

inconceivable that the failure to deliver information in the first couple of weeks for a subject as

to whom research might not continue beyond those first couple of weeks would defeat the

purpose of the Agreement.

       Finally, after Eastern still had not received the fourth weekly report due by February 13,

2018, it did not warn Strategic that it was late on its payments, in breach of the Agreement, or

otherwise indicate that “time was of the essence” in the Agreement. Even if the Agreement

could be considered a time of the essence contract, “a party, by acquiescence or failure to pursue

rights diligently under a time of the essence provision, eliminates or waives the provision as a

term or implied term of the contract.” Lockheed Martin Transp. Sec. Sols. v. MTA Cap. Constr.

Co., 2014 WL 12560686, at *22 (S.D.N.Y. Sept. 16, 2014) (collecting cases); see Atateks

Foreign Trade Ltd. v. Priv. Label Sourcing, LLC, 2009 WL 1803458, at *21 (S.D.N.Y. June 23,

2009), aff’d, 402 F. App’x 623 (2d Cir. 2010) (“[I]t is improper for a party who has waived its

right to timely performance to attempt suddenly to cancel the contract without first notifying its




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counterparty that time is of the essence and re-setting the time for performance within a

reasonable time by clear, distinct, and unequivocal notice.”) (internal quotation marks and

citation omitted); see also Ring 57 Corp., 280 N.Y.S.2d at 332 (“[A]cquiescence in [a] series of

delays” waives default).

       For those reasons, the Court concludes that the failure to deliver the research or the

weekly reports for the first month of the Agreement did not constitute a material breach.

       The Court reaches a different conclusion with respect to the monthly reports: the

preliminary financial forensic research reports due in the first month and the current tracking and

social media reports whose production monthly was listed as a deliverable. The failure to

produce those monthly reports was material. The monthly reports play an important role within

the context of the Agreement. It was on the basis of the monthly reports that Eastern was to

dictate the work to be done by Strategic. The Agreement provided that it was “understood that

[Eastern] may not wish for each of the 10 fish to be the subject of all three reports, and that the

number of report work duties per month [would] vary.” PX1 at 3. That was particularly so with

respect to the first month—the reports for which would dictate which ten of the 15 subjects

would become the focus of the future reports. Without those reports, Eastern would have no

means by which to determine who Strategic should focus on in the ensuing months. And,

without a basis to determine who Strategic should investigate, an essential purpose of the

Agreement would be defeated.

       The monthly reports for the first month also play an important part in the accounting

provision of the Agreement. That provision, it will be recalled, reflected that after the “March

reports and payments [were] made, . . . all involved Parties will meet to recap the accounting,

prior to moving forward with the next quarter.” Id. at 4. There might be an increase the number




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of “fish” thereafter. Id. The parties might also decide to renegotiate the terms of their

agreement. It was to be at that March meeting that the parties were to discuss whether they

found “the proper information requested on target A and any of the couple of categories under

target A,” and where “this ma[d]e sense or should [they] stop and move on to a different target

with a different parameter, and was this working properly.” Trial Tr. at 274. It is the only

provision for a recap set in the Agreement, and that provision for a recap was an essential

provision of the Agreement. It was the basis for the compromise between Strategic, which

wanted a monthly retainer regardless of results, and Eastern, which wanted to pay by result. But,

in order for that accounting mechanism to function properly, it could not be based solely on the

results of one month’s reporting—even the most recent month. The parties would need to have

some trajectory and to understand whether the results for a particular month reflected an increase

in what had been found and might suggest additional work to be done, or instead reflected that

after exhaustive work a dead-end had been reached. Strategic’s failure to deliver monthly

reports thus frustrated an essential provision of the Agreement.

                       c.      Strategic’s Counterclaim

       Strategic’s counterclaim alleges that Eastern first breached the Agreement by failing to

pay the $750,000 monthly payment due on February 16, which it argues, was required under the

Agreement regardless of the deliverables and which it needed to fund Team 1’s research.20 It

also argues Eastern breached the Agreement again when it delivered a termination letter without

30 days’ notice. As shown below, it does not follow from the fact that Strategic failed to deliver

the monthly reports that Eastern was privileged to withhold the $750,000 payment. Analyzing

the facts and the law, the correct result is that Eastern still owes Strategic the $750,000 and its


20
  The Court rejects Strategic’s argument that Eastern breached the contract by having ACA pay
the $1 million deposit. See supra.


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breach will be satisfied by allowing Strategic to withhold that sum from the money it is holding

as a deposit. At the same time, however, Strategic’s breach did entitle Eastern to declare that it

would cease performing under the Agreement and not pay the next $750,000 installment.

          The Court rejects Eastern’s interpretation that it was obligated to pay Strategic only upon

the delivery of a report and thus that it had no obligation to pay Strategic the $750,000 in

mid-February.

          Eastern’s argument is based on the section of the Agreement headed “Prices.” That

section states in pertinent part: “The prices for each deliverable “A,” “B,” and “C” are $300,000

each per subject per year, for a total of $900,000 per fish per year.” PX1 at 3. It further states

that the pricing for the first month “will include up to 15 fish for a total of 30 reports and will

decrease to 10 fish for a total of 30 reports at the beginning of the second month (February) and

for (March) [sic] and for the duration of this contract.” Id. at 4. It contains a paragraph that

states:

          (A) Comprehensive historical reports: $300,000 per report (or report-equivalent) per year.

          (B) Tracking reports: $300,000 per report (or report-equivalent) per year.

          (C) Social media reports: $300,000 per report (or report-equivalent) per year.

Id.

          The “Prices” section, however, also states that the “solution [of prices per report] does

not provide for predictable budgeting or workloads,” “[t]o ensure the maximum workload for

predictability of the agreed price, [Strategic] will measure the deliverables as 30 units per year

(10 fish x 3 reports [A+B+C] each = 30 jobs/reports at any given time),” and “[t]he pricing for

30 units or deliverables per year remains a constant $9,000,000 per ear, or $750,000 per month

for 12 months.” Id. at 3-4.




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       The parties disagree as to the import of this language. Eastern argues that it reflects an

agreement by the parties that Eastern would pay $300,000 per report only when the reports were

delivered. Strategic responds that the language sets forth the methodology by which the

$750,000 per month and $9,000,000 was derived. The Court concludes that Strategic has the

better of the argument.

       First, the Court is obliged to give meaning and effect to all of the provisions of the

Agreement and to avoid rendering any provision surplusage or meaningless. See Goodman v.

Resol. Tr. Corp., 7 F.3d 1123, 1127 (4th Cir. 1993) (“Contract terms must be construed to give

meaning and effect to every part of the contract, rather than leave a portion of the contract

meaningless or reduced to mere surplusage.”); Fifth Third Bank, N.A. v. Int’l Bus. Machs. Corp.,

2021 WL 508727, at *9 (W.D. Va. Feb. 11, 2021) (“[N]o word or clause in a contract will be

treated as meaningless if a reasonable meaning can be given to it, and parties are presumed not to

have included needless words in the contract.”) (quoting TM Delmarva Power, L.L.C. v. NCP of

Va., L.L.C., 557 S.E.2d 199, 200 (Va. 2002)); Berry v. Klinger, 300 S.E.2d 792, 796 (Va. 1983)

(“The court must give effect to all of the language of a contract if its parts can be read together

without conflict.”). The Agreement states, in several places, that Eastern is obligated to pay

Strategic a monthly fee of $750,000 for Strategic’s agreement to the terms of the contract. That

language is unambiguous: “Payment is to be made in regular monthly installments of

US$750,000, at the end of each month.” PX1 at 5.

       Second, Strategic’s interpretation is the best way to construe the Agreement as a whole to

satisfy the purposes of the parties. See First Am. Bank of Va. v. J.S.C. Concrete Const., Inc., 523

S.E.2d 496, 501 (Va. 2000) (“[T]he court will not treat any word or clause as meaningless if any

reasonable interpretation consistent with the other portions of the contract can be ascribed to




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it.”). As Strategic points out, the Agreement contemplated that there would be circumstances

where it would not deliver, or be able to deliver, three reports a month. With respect to financial

forensic reports, Strategic’s obligation was only to produce “update reports” on a monthly basis

after the three-month marker. Most importantly, as Strategic highlights, Eastern had the

unfettered discretion to substitute subjects over the term of the Agreement: if it deemed it

necessary to remove one subject, it had the right to designate an additional subject to be

investigated and thus “the number of report work duties per month will vary.” PX1 at 3. The

substitution of one subject for another would result in delay in reporting and increased costs for

Strategic. But Strategic was willing to accept those increased costs and the discretion that the

Agreement gave Eastern over the timing of reports because Eastern would pay a flat monthly fee

in exchange for Strategic’s agreement to provide the agreed number of reports or report

equivalents over the course of the year.

       Third, reflecting the fact that Strategic’s obligation was measured on an annual and not a

monthly basis, the very language to which Eastern points reflects the price per deliverable “per

year.” There is no price per deliverable per month. Thus, Eastern’s own reading of the

Agreement, applied literally, would lead to a result that not even Eastern urges—that

(notwithstanding the language regarding $750,000 per month), Eastern’s only obligation was to

pay “$900,000 per fish per year.” Id.

       Contrary to Eastern’s argument, Strategic’s interpretation does give effect and meaning to

each provision of the Agreement. Given the flexibility the Agreement accorded Eastern to

request the reports and to the timing of their delivery, as well as with respect to the subjects to be

investigated, there was a need to set forth a methodology showing the correspondence between

reports owed and money to be paid. In the absence of such a provision, there would be no ready




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method to determine whether Eastern received all the reports it was owed in a circumstance

where, for example, it had substituted subjects and mixed and matched reports. The language to

which Eastern points provided such a method. Eastern’s failure to pay $750,000 by its due date

was a material breach of the Agreement. See, e.g., Tandberg, Inc. v. Advanced Media Design,

Inc., 2009 WL 4067717, at *4 (E.D. Va. Nov. 23, 2009) (“[It] is well-settled that failure to make

timely payment constitutes a material breach.”) (collecting cases).

       Finally, Eastern’s argument that Strategic was to deliver quality reports in the first weeks

and that if it did not do so, Eastern would have the right both to declare a material breach and to

obtain the return of its deposit is, in essence if not in form, an attempt to achieve through

contrived contract interpretation the very right to make payment contingent on the delivery of

reports and to deprive Strategic of the value of the deposit that it attempted but failed to achieve

through contract negotiation. During contract negotiation, Eastern argued that the payments

should be due based on deliverables and that if the reports were not of the quality Eastern

expected, it would be able to obtain the return of its deposit. Strategic objected to those requests

and insisted that it needed the security of a regular monthly payment, a $1 million evergreen

deposit, and one-month notice before the contract could be terminated. Those provisions were

needed before Strategic embarked on the venture and made the investments necessary to

establish a research network, without knowing in advance whether it would be able to

successfully research any or all of the subjects. The Agreement permitted Eastern to terminate at

any time and for any reason, but that termination would not be effective for one month—

ensuring that Strategic would be able to recoup through the deposit the investment it made to

begin the research. Eastern’s argument would essentially reverse those provisions and frustrate

the expressed intent of the parties at the time of contracting. If accepted, it would permit Eastern




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to condition payment on the quality of the reports and to recoup its deposit, notwithstanding the

30-day notice provision.

       Strategic brings a second, separate claim based on Eastern’s failure to provide the proper

termination notice under the Agreement, which provides that “[e]ither party may terminate the

contract with 30 days’ written notice.” PX1. Eastern submitted a letter on February 23, 2018

stating that it was terminating the contract and made no payments thereafter. The Agreement

indicates that termination would be effective only 30 days after notice of termination. However,

when a party materially breaches a contract, the other party is relieved of its future obligations.

See New Windsor Volunteer Ambulance Corps, Inc. v. Meyers, 442 F.3d 101, 117 (2d Cir. 2006)

(“When a party has breached a contract, that breach may excuse the nonbreaching party from

further performance if the breach is ‘material.’”). Given Strategic’s material breach, Eastern was

permitted to terminate the Agreement without giving 30 days’ notice, and this basis for the

counterclaim thus fails.

                       d.      Relief

       The evidence establishes that Strategic and Eastern both materially breached the

Agreement and did so at the same time. Strategic breached by failing to deliver the monthly

report on February 16, 2018. Eastern breached when it failed to pay the $750,000 installment on

February 16, 2018.

       It is black letter law that, upon a material breach of contract, the non-breaching party may

elect to cease performance and seek damages. See, e.g., Lovink v. Guilford Mills, Inc., 878 F.2d

584, 586 (2d Cir. 1989) (“A total breach justifies termination of the contract and damages for

complete failure of performance.”); The Est. of Mantle v. Rothgeb, 2007 WL 4548127, at *10

(S.D.N.Y. Nov. 6, 2007) (“If plaintiff did materially breach the Agreement, defendants would

have been entitled to terminate the contract and sue for damages.”). Absent circumstances not


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applicable here, a party who fails to perform cannot itself seek damages. See Optima Media

Grp. Ltd. v. Bloomberg L.P., 2021 WL 1941878, at *8 (S.D.N.Y. May 14, 2021) (“In order to

recover for breach of contract, a party must first show it substantially performed under that

contract”); Car Pool, 2012 WL 4854652, at *3 (requiring plaintiff’s adequate performance of the

contract to state a claim). It follows that, upon Strategic’s failure to deliver the monthly reports,

Eastern had the right to send the termination notice and direct Strategic not to perform any

further activities for Eastern. Eastern is not liable for any portion of the $750,000 payment that

would have been due in mid-March for services performed from mid-February on, after Eastern

validly terminated the Agreement. It also follows that upon Eastern’s failure to pay the $750,000

in consideration of the retention of Strategic from mid-January to mid-February, Strategic was no

longer required to engage in investigative services for Eastern. Eastern’s beach gave it the right

at that time to immediately elect to stop working for Eastern and not to incur any additional

expenses on its behalf.

       It does not follow that either of Eastern or Strategic is entitled to contract damages.

Eastern has not identified any damages it suffered by failing to receive the first monthly reports.

In addition, by failing to tender payment and materially breaching the Agreement, Eastern is not

entitled to damages. At the same time, Strategic too is not entitled to recover damages for

Eastern’s breach of contract. Had Strategic performed and delivered the monthly reports

(regardless of their quality), it would have been entitled to damages for Eastern’s premature

termination of the Agreement in the amount of at least $750,000—representing the payment it

would have been owed for the 30-day period it was entitled to payment after Eastern served a

notice of termination (and which was due on February 16). But it did not perform on February

16, and thus it cannot complain that it did not receive the $750,000.




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       Where “each party breached an obligation due and owing under the contract . . . neither

party is entitled to damages from the other.” Buffardi v. Parillo, 563 N.Y.S.2d 948, 950 (3d

Dep’t 1990) (finding “no merit in each party’s claim that he was relieved from the obligation to

perform by the other party’s failure to perform” because “[n]either party engaged in the type of

conduct that frustrated or prevented the other party from performing, and since both conditions

were to be fulfilled in a reasonable time, neither party was justified in waiting for the other party

to perform first”) (internal citation omitted).

       A different conclusion follows with respect to whether Eastern is entitled to recover the

full $1 million deposit it paid Strategic at the beginning of the Agreement. It is not entitled to do

so on a breach of contract theory. Eastern does not dispute that the parties had agreed that the $1

million deposit could be credited by Strategic against the final 1 and 1/3 months of the

Agreement. See PX1 at 5. As described above, that agreement was critical to Strategic’s

agreement to perform investigative services—had Eastern not agreed to provide an advance

against its obligations and had it not further agreed that Strategic could retain that sum for as

long as the Agreement was in effect, up to a maximum of 1 and 1/3 months, Strategic would not

have invested in the infrastructure necessary to carry out the Agreement. The Agreement here

was in effect for one month, from January 16, 2018 to February 16, 2018. It follows that, had

Strategic not violated the Virginia Private Security Services Statute, Strategic would have been

entitled to retain that portion of the $1 million that it earned while the Agreement was in effect,

or $750,000. That amount and Strategic’s right to retain it are not contingent upon Strategic’s




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delivery of reports—that is the precise contractual provision Eastern demanded but was not able
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to obtain during contract negotiations.

       Eastern is entitled to restitution in the amount of $250,000 on a breach of contract theory.

That represents the $1 million deposit Eastern paid less the $750,000 amount that Strategic is

owed and entitled to keep under the Agreement. “[I]f a party justifiably refuses to perform on

the ground that his remaining duties of performance have been discharged by the other party’s

breach, the party in breach is entitled to restitution for any benefit that he has conferred by way

of part performance or reliance in excess of the loss that he has caused by his own breach.”

Restatement (Second) of Contracts § 374 (1981); see also New Windsor, 442 F.3d at 118 (“[A]

plaintiff whose breach was not willful and deliberate may, in some instances, recover so much as

his efforts have actually benefited the non-breaching party.”). Even if Eastern breached the

Agreement by failing to pay the $750,000 due on February 16, it is still entitled to restitution for

the benefit it conferred on Strategic, which is equal to the amount in excess of the $750,000 that

Strategic is owed, i.e., $250,000. However, that sum is subsumed within the $1 million Eastern

is entitled to recover on its claim based on the Virginia Private Security Services Statute.

               2.      Eastern’s Unjust Enrichment Claim

       Eastern also bring a claim for unjust enrichment. That claim does not provide any relief

for Eastern.

       The elements of unjust enrichment are: “(1) a benefit conferred on the defendant by the

plaintiff; (2) knowledge on the part of the defendant of the conferring of the benefit; and (3)

acceptance or retention of the benefit by the defendant in circumstances that render it inequitable

for the defendant to retain the benefit without paying for its value.” The Christian Broad.


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   That the $750,000 is not contingent on Strategic’s delivery of services distinguishes Eastern’s
reliance on Restatement (Second) of Contracts § 234 cmt. e, f.


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Network, Inc. v. Busch, 2006 WL 2850624, at *7-8 (E.D. Va. Oct. 3, 2006) (collecting cases);

see Mandarin Trading Ltd. v. Wildenstein, 944 N.E.2d 1104, 1110 (N.Y. 2011) (same).

       “Where the parties executed a valid and enforceable written contract governing a

particular subject matter, recovery on a theory of unjust enrichment for events arising out of that

subject matter is ordinarily precluded.” IDT Corp. v. Morgan Stanley Dean Witter & Co., 907

N.E.2d 268, 274 (N.Y. 2009) (plaintiff could not use unjust enrichment claim to recover fee paid

because it arose from services governed by engagement letter). The parties do not dispute that

the Agreement is enforceable and that payment of the $1 million deposit was required by the

Agreement. Regardless of whether its breach of contract claim succeeds, Eastern cannot recover

for the $1 million under an unjust enrichment claim. See UETA Latinamerica, Inc. v. Zafir, 10

N.Y.S.3d 566, 568 (2d Dep’t 2015) (claim for unjust enrichment “only applies in the absence of

an express agreement, and is not really a contract at all, but rather an equitable obligation

imposed in order to prevent a party’s unjust enrichment”); The Christian Broad. Network, 2006

WL 2850624, at *8 (“Unjust enrichment claims arise ‘when there is no contractual

relationship.’”) (quoting Aerotek, Inc. v. Tyonek Native Corp., 2005 WL 3372872, at *3 (E.D.

Va. Dec. 8, 2005)); see also Bazak Int’l Corp. v. Tarrant Apparel Grp., 347 F. Supp. 2d 1, 4

(S.D.N.Y. 2004) (“If a valid, enforceable contract existed between the parties, then [plaintiff]

cannot recover under a theory of unjust enrichment. However, if no valid contract was in place

regarding the sale of the goods, [plaintiff] has failed to state a claim for relief under the theory of

unjust enrichment because, absent a contract, the benefit that [defendant] garnered from selling

the merchandise was not at [plaintiff]’s expense.”).




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                3.      Strategic’s Fraud Counterclaim

        Strategic argues that Eastern cannot recover the $1 million deposit because it was paid by

ACA and because it was the victim of fraud by Guo and Eastern. The Court rejects these

arguments.

        Under Virginia law, the elements of actual fraud are: “(1) a false representation, (2) of a

material fact, (3) made intentionally and knowingly, (4) with intent to mislead, (5) reliance by

the party misled, and (6) resulting damage to the party misled.” Winn v. Aleda Constr. Co., 315

S.E.2d 193, 195 (Va. 1984). The burden of proof applicable to fraud under Virginia law is “clear

and convincing evidence,” which is “higher than a mere preponderance.” Sweely Holdings, LLC

v. SunTrust Bank, 820 S.E.2d 596, 604 (Va. 2018); see Hitachi Credit Am. Corp. v. Signet Bank,

166 F.3d 614 (4th Cir. 1999).

        Similarly, under New York law, “a claim of fraudulent inducement requires proof (1)

that the defendants made a representation, (2) as to a material fact, (3) which was false, (4) and

known to be false by the defendants, (5) that the representation was made for the purpose of

inducing the other party to rely upon it, (6) that the other party rightfully did so rely, (7) in

ignorance of its falsity, (8) to his injury.” Internet L. Libr., Inc. v. Southridge Cap. Mgmt., LLC,

2005 WL 3370542, at *5 (S.D.N.Y. Dec. 12, 2005), aff’d sub nom. ITIS Holdings Inc. v.

Southridge Cap. Mgmt. LLC, 329 F. App’x 299 (2d Cir. 2009). “Each element of [a] fraud claim

must be shown by clear and convincing evidence, at the summary judgment stage as well as at

trial.” Century Pac., Inc. v. Hilton Hotels Corp., 528 F. Supp. 2d 206, 219 (S.D.N.Y. 2007),

aff’d, 354 F. App’x 496 (2d Cir. 2009)

        To prevail on a fraud claim under both Virginia and New York law, a plaintiff must

establish that the defendant made a false statement. Strategic here failed to do so. Strategic’s

claim is based on the notion that, at the time Guo requested Strategic to perform investigative


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services for Eastern, Guo falsely represented that he was anti-CCP and that he would use the

research obtained by Strategic for the purposes of sowing discord in the CCP and eventually

overthrowing it. Thus, to prove its case, Strategic would have had to show either that Guo was a

proponent of the CCP or at best indifferent to the CCP, or that Guo did not intend to use the

research for the stated purposes.

        The evidence did not establish Strategic’s claim. Although there is evidence that Guo

has made statements in favor of the CCP and of some conduct that would suggest that he is not

hostile to the Chinese government (or at least not to all parts of it), Guo also testified to being an

opponent of the CCP and to an intent to use the Strategic research in a manner hostile to the

Chinese government. There is also evidence that Guo made statements consistent with a person

who is hostile to the CCP. The evidence at trial does not permit the Court to decide whether Guo

is, in fact, a dissident or a double agent. In the absence of a definitive or at least clear answer to

that question, Strategic has not satisfied its burden of providing a false statement. Others will

have to determine who the true Guo is.

       The evidence before the Court also does not establish that Strategic reasonably or

actually relied on Guo’s representations about his political allegiances and the purposes for

which he sought the research.

       “In assessing the reasonableness of a plaintiff’s alleged reliance, [the Court] considers the

entire context of the transaction, including factors such as its complexity and magnitude, the

sophistication of the parties, and the content of any agreements between them.” Meisel v.

Grunberg, 651 F. Supp. 2d 98, 118 (S.D.N.Y. 2009) (quoting Glidepath Holding B.V. v.

Spherion Corp., 590 F. Supp. 2d 435, 459 (S.D.N.Y. 2007)). “In applying the test of

reasonableness, the court must determine whether the plaintiff availed itself of the means




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available to it given its size and sophistication.” Ambac Assur. Corp. v. Countrywide Home

Loans, Inc., 2016 WL 7374210, at *12 (N.Y. Sup. Ct. Dec. 19, 2016) (internal quotation marks

and citation omitted). “Factors to be considered in making this determination may include the

particular parties’ prior course of dealing, the roles of other participants in the transaction, the

time and expense of the investigation, the feasibility of practical[ity] of the plaintiff’s

performance of a particular type of investigation before entering into the transaction, the

foreseeable risk to the plaintiff of failing to undertake the investigation, and responsible industry

custom.” Id. (internal quotation marks and citation omitted).

        Before reasonably relying on a representation regarding information material to

participation in a significant transaction, a sophisticated party “has a duty to conduct an

independent appraisal of the risk it is assuming and a duty to investigate the nature of its business

transactions.” Granite Partners, L.P. v. Bear, Stearns & Co. Inc., 58 F. Supp. 2d 228, 259

(S.D.N.Y. 1999); see id. (noting that they “cannot be heard to complain when they fail to make

diligent inquiries”). “Where sophisticated businessmen engaged in major transactions enjoy

access to critical information but fail to take advantage of that access, . . . courts are particularly

disinclined to entertain claims of justifiable reliance.” Crigger v. Fahnestock & Co., Inc., 443

F.3d 230, 235 (2d Cir. 2006). “[I]f false representations are made regarding matters of fact, and

the means of knowledge are at hand and equally available to both parties, and the party, instead

of resorting to them, sees fit to trust himself in the hands of one whose interest is to mislead him,

the law, in general, will leave him where he has been placed by his own imprudent confidence.”

Persaud Cos., Inc. v. IBCS Grp., Inc., 425 F. App’x 223, 226 (4th Cir. 2011) (quoting Costello v.

Larsen, 29 S.E.2d 856, 858 (1944). “Succinctly put, a party will not be heard to complain that he

has been defrauded when it is his own evident lack of due care which is responsible for his




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predicament.” Rodas v. Manitaras, 552 N.Y.S.2d 618, 620 (1st Dep’t 1990); accord Crigger,

443 F.3d at 235; see also Hitachi Credit, 166 F.3d at 629 (“A plaintiff cannot claim that its

reliance was reasonable and justified when it makes a partial inquiry, with full opportunity of

complete investigation, and elects to act upon the knowledge obtained from the partial inquiry.”).

       Similarly, to establish actual reliance in a fraud action under New York law, “the plaintiff

must show a belief in the truth of the representation and a change of position in reliance on that

belief.” Hecht v. Components Int’l, Inc., 867 N.Y.S.2d 889, 895 (Sup. Ct. 2008) (citing CBS Inc.

v. Ziff-Davis Pub. Co., 553 N.E.2d 997, 1000 (N.Y. 1990)). Put another way, the plaintiff must

show that the “defendant’s misrepresentation induced plaintiff to engage in the transaction in

question[.]” Laub v. Faessel, 745 N.Y.S.2d 534, 536 (1st Dep’t 2002). Actual reliance requires

proof “that ‘but for the claimed misrepresentations or omissions, the plaintiff would not have

entered into the detrimental securities transaction.’” Basis PAC-Rim Opportunity Fund (Master)

v. TCW Asset Mgmt. Co., 48 N.Y.S.3d 654, 656 (1st Dep’t 2017) (quoting Lentell v. Merrill

Lynch & Co., 396 F.3d 161, 172 (2d Cir. 2005)).

       Strategic is and holds itself out to be a sophisticated entity. Its business includes the

investigation of people, including their backgrounds and their financial relationships.

Information was available to it that called Guo’s political allegiances and objectives into

question. Gertz had written an article on May 23, 2017, prior to the Agreement, that described

Guo’s “close ties to senior Chinese Communist Party leaders, including government ministers

and Politburo members,” indicated Guo had “access to Ministry of State security operations

overseas and in the United States,” and noted that “Guo’s wife and daughter currently have been

allowed by Chinese authorities to visit him in New York but are required to return to China after

20 days, where they can be used for political leverage against Guo.” Trial Tr. at 82; DX 43.




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Wallop denied seeing this article, despite Strategic’s focus on “research and analysis of political

intelligence,” her 30-year relationship with Gertz, and the fact that Gertz introduced her to Guo.

See, e.g., Trial Tr. at 34; see also id. at 55-56. In another article, dated October 9, 2017, Gertz

had noted that “Guo said he maintains close ties to supporters within the Chinese government

and security system.” Trial Tr. at 84-85; DX32. It was therefore a matter of public knowledge

that Guo had provided funds to security forces in China and maintained relationships with high-

level members of the CCP. If Wallop and Waller were concerned that such relationships were

consistent with support of the CCP or at least ambivalence towards it, they could have

investigated or inquired further. Instead they did not. See, e.g., PNC Bank, Nat’l Ass’n v.

Dominion Energy Mgmt., Inc., 2018 WL 1768061, at *11 (E.D. Va. Apr. 12, 2018) (“Examples

of unreasonable reliance include ‘where a party had information that would excite the suspicions

of a reasonably prudent person’ or ‘where one relies upon an oral statement that is contrary to a

written statement in his possession.’”) (citation omitted).

       If Guo’s allegiances and the purpose for which Eastern commissioned the research had

been important to Strategic, as it testified, it could have protected itself. It could, for example,

have asked for a representation of Guo’s loyalties, or at least a recital in a whereas clause in the

Agreement. It need not necessarily have feared that including such a representation or recital

would have undermined the purpose of the Agreement and the parties’ mutual desire for

confidentiality. Representations are included in the most confidential of agreements. Moreover,

the parties already went to extensive lengths to preserve confidentiality, including by having a

confidentiality provision in the Agreement, by using “virgin laptops” to transfer the research

data, and by making sure no non-encrypted electronic versions of the Agreement were available.




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Moreover, although Strategic argued that Guo did not want references to himself in the

Agreement, Strategic need not have acceded to that request.

       Indeed, the structure of the Agreement and the deliverables Strategic was obligated to

provide to Eastern are themselves inconsistent with the notion of reasonable reliance. The

Agreement gave Eastern (and Guo) alone the power to dictate Strategic’s research agenda.

Strategic did not have input into the subjects of investigation or a veto over them. The

Agreement provides that Eastern “will provide the necessary basis information, and desired areas

of focus, to [Strategic] to research.” PX1. It also provided that Eastern could “direct [Strategic]

to conduct other research, not specified in this agreement, for a fee.” Id. Eastern had the right to

select fish. If Eastern had demanded that Strategic research an opponent of the CCP, the

Agreement would have required Strategic to do so. Strategic’s only option not to investigate a

subject was if “circumstances do not permit sufficient work to research a given fish.” Id.




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                                         CONCLUSION

       For the reasons explained above, the Court concludes that Eastern prevails on its claim

for a declaratory judgment that the Agreement is unenforceable and void, and Eastern is entitled

to restitution in the amount of the $1 million Strategic was never entitled to collect from Eastern.

The Court has reviewed the remaining arguments and defenses, which fail.

       The parties are directed to meet and confer regarding a proposed form of judgment and to

file with the Court a joint stipulation or judgment by June 29, 2021.



       SO ORDERED.


Dated: June 22, 2021                               __________________________________
       New York, New York                                     LEWIS J. LIMAN
                                                          United States District Judge




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